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FILED

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IN THE UNITED STATES DISTRICT COURT _
FOR THE NORTHERN DISTRICT OF OHIO GATE POH

EASTERN DIVISION

UNITED STATES OF AMERICA, ) SUPERSEDING
) INDICTMENT

Plaintiff, )
)
V. )
)
ZUBAIR MEHMET ABDUR RAZZAQ AL =) CASENO. 1:24-CR-00017
ZUBAIR, aka ZUBAIR MEHMET ) Title 18, United States Code,
ABDUR RAZZAQ, ) Sections 371, 641, 666, 1071,
MUZZAMMIL MUHAMMAD AL ZUBAIR,  ) 1343, 1349, 1951(a), 1956(h),
aka MUZZAMMIL IBN MUHAMMAD, _ ) 1957, and 2; Title 26, United
MICHAEL LEON SMEDLEY, ) States Code, Sections 7203 and
) 7206(2)
Defendants. }
GENERAL ALLEGATIONS

At all times material to this Indictment, unless otherwise specified:
The Defendants and Relevant Businesses

1. Defendant ZUBAIR MEHMET ABDUR RAZZAQ AL ZUBAIR, aka ZUBAIR
MEHMET ABDUR RAZZAQ (“ZUBAIR AL ZUBAIR”), was born in Cleveland, Ohio. From
approximately 2008 to 2020, ZUBAIR AL ZUBAIR resided in the United Arab Emirates
(“U.A.E.”). In approximately 2020, ZUBAIR AL ZUBAIR moved to the Cleveland, Ohio area
and has resided in the Northern District of Ohio ever since. Despite having no familial
relationships with any member of royal families in the U.A.E. or any other country, ZUBAIR AL
ZUBAIR falsely claimed to be a member of a royal family in the U.A.E., and often used the
honorific “His Excellency” or “HE.” in correspondence. He also falsely claimed that he had
married a “princess” from a royal family in the UAE. ZUBAIR AL ZUBAIR frequently made

false claims that his family had extensive business operations and was extraordinarily wealthy,
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ZUBAIR also falsely claimed to have personal or family connections with the rulers and
governments of multiple foreign countries and businesses.

2. Defendant MUZZAMMIL MUHAMMAD AL ZUBAIR, aka MUZZAMMIL
IBN MUHAMMAD (“MUZZAMMIL AL ZUBAIR”), was born in Cleveland, Ohio, and was a
resident of the Cleveland, Ohio area in the Northern District of Ohio. MUZZAMMIL AL
ZUBAIR claimed to be a hedge fund manager. MUZZAMMIL AL ZUBAIR was not registered
as an Investment Adviser with the Securities and Exchange Commission or as a broker with the
Financial Industry Regulatory Authority (“FINRA”). MUZZAMMIL AL ZUBAIR’s only
education on hedge funds was from watching YouTube videos. MUZZAMMIL AL ZUBAIR
and ZUBAIR AL ZUBAIR were brothers.

3. Dubai Bridge Investments was a business operated by ZUBAIR AL ZUBAIR and
MUZZAMMIL AL ZUBAIR. According to records on file with the Ohio Secretary of State,
Dubai Bridge Investments, LLC (“Dubai Bridge Investments” or “DBI”) was an active foreign
limited liability company doing business in Ohio as of December 22, 2020, The agent/registrant
was listed as MUZZAMMIL AL ZUBAIR. According to Delaware business record filings,
Dubai Bridge Investments was incorporated in Delaware on December 16, 2013, as a limited
liability company. According to an application with the Small Business Administration,
ZUBAIR AL ZUBAIR owned 51% and MUZZAMMIL AL ZUBAIR owned 49% of Dubai
Bridge Investments. According to its webpage, Dubai Bridge Investments claimed to be “[a]n
innovative hybrid of private equity and venture capital.” The website claimed the company was
“headquartered in both Dubai and North America,” and “focus[ed] on key areas such as energy
and mining, food and beverage, transportation, consumer product distribution, and technology.”

The website identified ZUBAIR AL ZUBAIR as its chairperson and MUZZAMMIL AL
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ZUBAIR as managing partner. ZUBAIR AL ZUBAIR’s biography on the website claimed that
he “has created successful ventures by building relationships throughout the business and
political worlds.” MUZZAMMIL AL ZUBAIR’s biography on the website claimed that he
“founded the family’s vast capital market’s arm as well as spearheads the family’s financial
operations and mergers and acquisitions.” Dubai Bridge Investments maintained multiple bank
accounts, including accounts at JP Morgan Chase ending in 0302 and 0079 and an account at
PNC Bank ending in 2216. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR were
authorized signatories on these accounts.

4, Al Zubair Capital was a business operated by ZUBAIR AL ZUBAIR and
MUZZAMMIL AL ZUBAIR. On May 16, 2020, Al Zubair Capital LTD (“Al Zubair Capital”)
was registered with the Ohio Secretary of State as a foreign for-profit limited liability company.
The registered agent was MUZZAMMIL AL ZUBAIR, The company was originaily
incorporated in Delaware on May 6, 2020, as Al Zubair Capital LLC. Al Zubair Capital
maintained a bank account with JP Morgan Chase ending in 9283. ZUBAIR AL ZUBAIR and
MUZZAMMIL AL ZUBAIR were authorized signatories for the account. Al Zubair Capital
maintained an account with TD Ameritrade, an online brokerage service. MUZZAMMIL AL
ZUBAIR signed and submitted the application to set up this account and was the authorized user,

5. Defendant MICHAEL LEON SMEDLEY was a resident of the Cleveland, Chio,
area, in the Northern District of Ohio. SMEDLEY was the Chief of Staff and Executive
Assistant to the Mayor of East Cleveland, a role he assumed in or around February 2014. In his
role as Chief of Staff and Executive Assistant, SMEDLEY’s job duties and responsibilities
included helping with the economic development of East Cleveland by acting as an advisor to

the Mayor, leading strategic initiatives for East Cleveland, coordinating and ensuring the day-to-
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day operations of the Mayor’s office, coordinating actions of other departments in the City of
East Cleveland, and facilitating tasks and actions in support of East Cleveland’s daily operational
and strategic goals.

Cryptocurrency Mining

6. Cryptocurrency mining was the process by which computers solve a complicated
mathematical equation in order to validate cryptocurrency transactions and earn new
cryptocurrency. Cryptocurrency mining required a large amount of computing power, often
utilizing hundreds or thousands of individual mining computer terminals known as “miners.”
These miners were often operated together within a larger container, similar to an industrial
shipping container. One brand name for these containers was “Antbox.” A cryptocurrency
mining operation could use thousands of miners housed in hundreds of containers.

7. To be profitable, cryptocurrency mining operations required a great deal of
inexpensive electricity and a large amount of available space, such as large warehouses or
industrial parks. Miners gave off a great deal of heat, requiring noisy industrial cooling.
Because of the generated heat, mining operations operated most efficiently in cooler climates.
Former industrial sites in the United States were considered to be suitable prospective locations
for cryptocurrency mining.

Nela Park

8. Nela Park was located in East Cleveland, Ohio. Nela Park, named after the
National Electric Lamp Association, was one of the first industrial parks in the United States
when it was built in approximately 1913. General Electric owned and operated Nela Park for
many years. In 2021, Nela Park was owned by GE Lighting, which had previously been a

division of General Electric. In 2021, the property was for sale by GE Lighting. The property
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was sold to Phoenix Investors in the spring of 2022. At no time did ZUBAIR, MUZZAMMIL,
any member of their family, or any business they own have ownership, control, or any
possessory interest over or in Nela Park or any of its land or buildings.

The Small Business Administration’s Economic Injury Disaster Loan Program

9. The United States Small Business Administration (“SBA”) was an executive
branch agency of the United States government. The mission of the SBA was to maintain and
strengthen the nation’s economy by enabling the establishment and viability of small business
and to assist in the economic recovery of communities after disasters.

10. The Coronavirus Aid, Relief and Economic Security CARES”) Act was a
federal law enacted in or around March 2020 and was designed to provide emergency financial
assistance to Americans suffering the economic effects caused by the COVID-19 pandemic. One
source of relief under the CARES Act was authorization of the SBA to issue loans to small
businesses and non-profit entities experiencing revenue loss due to the pandemic.

11. One form of such assistance was the Economic Injury Disaster Loan (“EIDL”)
program, which provided loan assistance for certain businesses negatively affected by the
COVID-19 pandemic. To qualify for an EIDL loan, a business must have, among other
requirements, suffered working capital losses due to the COVID-19 pandemic.

12. Applicants for EIDL loans used the SBA online portal to submit their application
materials. The servers that processed the EIDL loan applications were based in the state of Iowa.

13. Applicants had to certify that the information in the application was true and
correct, under the penalty of perjury and applicable statutes. The application process involved
filling out data fields relating to the size and ownership of the affected business entity, and other

information about the relevant business for the 12 menths prior to COVID-19 impacting the
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national economy, such as the number of employees in the business, the gross business revenues
realized, and the cost of goods sold. This information, submitted by the applicant, was then used
by SBA systems to determine whether the application would be approved, and to calculate the
amount of money the applicant was eligible to receive.

14. Pursuant to the provision governing the EIDL program, loan proceeds could only
be used by the affected business receiving EIDL loans for certain permissible expenses. The
loans could be used by the business to pay fixed debts, payroll, accounts payable, and other bills
that could have been paid had the COVID-19 disaster not occurred. The applicant was required
to promise in the Loan Authorization and Agreement that the EIDL funds would be used solely
as working capital to alleviate economic injury caused by the COVID-19 disaster.

Victims

15. Victim 1, a person known to the Grand Jury, was a resident of the U.A.E. who
had a personal, romantic relationship with ZUBAIR AL ZUBAIR.

16. Victim 2, a person known to the Grand Jury, was a Chinese national involved in
the business of cryptocurrency mining in China. After China banned cryptocurrency mining in
approximately 2021, Victim 2 traveled to the United States to attempt to continue cryptocurrency
mining. While in the United States, Victim 2 scouted potential locations for cryptocurrency
mining. Victim 2 operated a cryptocurrency mining company (“Cryptocurrency Mining
Company 1”). ZUBAIR AL ZUBAIR developed a close, personal relationship with Victim 2
that Victim 2 believed was romantic in nature.

17. Victim Company 1, a company known to the Grand Jury, was the owner of a
commercial property in Cleveland, Ohio.

18. Victim 3, a person known to the Grand Jury, was the owner of a residence in
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Bratenahl, Ohio.
Additional Relevant Entities and Individuals

19. Individual 1, a person known to the Grand Jury, was an associate of both
ZUBAIR AL ZUBAIR and Victim 2 who lived in Cleveland, Ohio.

20. Realtor I, a person known to the Grand Jury, was a realtor in Cleveland, Ohio,
who was hired by ZUBAIR AL ZUBAIR to represent him on proposed real estate transactions.

21. Canadian Company 1 was a consulting business which purchased and resold
cryptocurrency mining contracts and equipment.

22, Businessperson 1, a person known to the Grand Jury, was located in Romania.

23, Businessperson 2, a person known to the Grand Jury, was a commodities broker
located in New York, New York.

24. Businessperson 3, a person known to the Grand Jury, was located in the U.A.E.

25. Businessperson 4, a person known to the Grand Jury, was located in the U.A.E.

26.  Businessperson 5, a person known to the Grand Jury, was located in Indonesia.

COUNT 1
(Conspiracy to Commit Wire Fraud, 18 U.S.C. § 1349)

The Grand Jury charges:

27. The factual allegations contained in paragraphs 1 through 26 of this Superseding
Indictment are re-alleged and incorporated by reference as if fully set forth herein.

28, From im or around June 2020 to in or around August 2023, in the Northern District
of Ohio, Eastern Division and elsewhere, Defendants ZUBAIR MEHMET ABDUR RAZZAQ
AL ZUBAIR, aka ZUBAIR MEHMET ABDUR RAZZAQ, and MUZZAMMIL MUHAMMAD
AL ZUBAIR, aka MUZZAMMIL IBN MUHAMMAD, and others known and unknown to the

Grand Jury, did knowingly combine, conspire, confederate, and agree to devise and intend to
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devise schemes and artifices to defraud and to obtain money and property by means of materially
false and fraudulent pretenses, representations and promises, and for the purpose of executing
such schemes and artifices, and attempting to do so, to transmit and cause to be transmitted by
means of wire communications in interstate and foreign commerce, certain writings, signals,
signs, pictures and sounds: that is, to knowingly make and cause to be made interstate wire
communications in furtherance of said schemes and artifices to defraud, in violation of Title 18,
United States Code, Section 1343.

Object of the Conspiracy

29. ‘It was the object of the conspiracy for ZUBAIR AL ZUBAIR and MUZZAMMIL
AL ZUBAIR to enrich themselves by using multiple schemes to obtain funds, goods and property
under false pretenses to use for their own personal benefit.

Manner and Means of the Conspiracy

It was part of the conspiracy that:

30, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR created the illusion that
they were sophisticated and wealthy investors with important political, business, and family
connections who operated successful investment businesses to lure potential victims into
investing funds with them or engaging in other financial transactions.

31. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR used false statements
and claims about their wealth, business connections, familial connections, political connections,
foreign connections, experience, and property ownership to convince victims to provide them
with access to funds, real property, and goods that they could then exploit to their own benefit.

32. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR promised large and

extraordinary returns and payments to victims.
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33. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR altered bank and
investment account statements to show that they had greater funds than they had in order to
convince victims of their financial resources and to provide false documentation of the status of

victims’ investments.

34. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR utilized interstate wire

communications and money transfers in furtherance of their scheme.

35, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR used their businesses,
Dubai Bridge Investments and Al Zubair Capital, in furtherance of their schemes to create a false
illusion of prosperity and success and as vehicles for receiving and transferring the proceeds of

their scheme.

36. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR shared in the proceeds
of their schemes, which they spent on luxury vehicles, travel on private jets, luxury travel, lavish

hotel stays, entertainment, shopping, jewelry, firearms, and other luxury items.

37. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR used multiple bank
accounts and made multiple financial transactions with the proceeds of their schemes to conceal

the source of the funds.

38, | When victims complained about having lost money, ZUBAIR AL ZUBAIR and
MUZZAMMIL AL ZUBAIR made limited payments to them to attempt to quiet them, before

entirely ceasing all communications.

39. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR followed a pattern of
using schemes to obtain funds from one victim, exhausting those funds, and then obtaining funds

from a new victim.

40. ZUBAIR AL ZUBAIR established controlling, romantic relationships with
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victims, which made it less likely that they would challenge or question his actions.

41. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR offered benefits such as
cash, checks, expensive meals, and Cleveland Browns’ tickets to Smedley, a public official in
East Cleveland, in exchange for Smedley and others performing official acts for their benefit that
they used to perpetuate their schemes, including arranging for the appointment of ZUBAIR AL
ZUBAIR as an international economic advisor to the City of East Cleveland and providing East

Cleveland business cards with the title to ZUBAIR AL ZUBAIR.

42. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR used claims of having
political influence, including official titles in the City of East Cleveland, to attempt to convince

potential investors to conduct transactions with them and provide them with funds.

43, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR executed and attempted
to execute a continuing series of schemes that were based on false representations regarding their
wealth, family and political connections, experience, and business operations, As they spent the
proceeds from one scheme, they developed and moved on to the next scheme. These schemes,

included but were not limited to, the following:
U_A.E. Investor Scheme

44, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR defrauded Victim 1 of
funds in a fraudulent investment scheme. Starting in June 2020, ZUBAIR AL ZUBAIR and
MUZ.ZAMMIL AL ZUBAIR obtained a series of wire transfers from Victim 1, who was in the
U.A.E. and was involved in a romantic relationship with ZUBAIR AL ZUBAIR. These wire
transfers were for investments on behalf of Victim 1. All of the funds provided by Victim 1 in
the first wire transfer were invested in the Al Zubair Capital TD Ameritrade account. As Victim

1 sent further payments, a smaller percentage of the funds was invested in the Al Zubair Capital

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TD Ameritrade account. The uninvested funds were used for the personal benefit of ZUBAIR.
AL ZUBAIR and MUZZAMMIL AL ZUBAIR, while the funds that were invested were
eventually either lost or transferred to accounts controlled by ZUBAIR AL ZUBAIR and
MUZZAMMIL AL ZUBAIR and used for their own personal benefit. In order to maintain the
appearance that ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR were investing Victim
1’s funds in a successful investment account, ZUBAIR AL ZUBAIR emailed Victim 1 altered
TD Ameritrade account statements that greatly inflated the amounts and profits generated in the

account, when compared to the actual status of the account.

45. | Onor about April 1, 2021, ZUBAIR AL ZUBAIR sent Victim 1 an email falsely
. promising extraordinarily high returns to invest in an oilfield company. Victim 1 then wire
transferred $450,000 to ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR. ZUBAIR AL
ZUBAIR and MUZZAMMIL AL ZUBAIR did not spend any of these funds on an oilfield
company investment. Instead, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR
invested a portion in the Al Zubair Capital TD Ameritrade account and spent the rest for their
own personal benefit. In all, Victim 1 sent ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR $860,875.46. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR sent Victim 1
only a small percentage of the amount invested back to her in a series of wire transfers. The
funds that were invested in the TD Ameritrade account eventually were either lost in unprofitable
investments or transferred to bank accounts controlled by ZUBAIR AL ZUBAIR and
MUZZAMMIL AL ZUBAIR. ZUBAIR ignored Victim 1’s repeated inquiries and complaints

about the status of her investment.
SBA EIDL Scheme

46. In or around February and March 2021, ZUBAIR AL ZUBAIR and

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MUZZAMMIL AL ZUBAIR fraudulently applied for and obtained $27,400 from the SBA EIDL
program. MUZZAMMIL AL ZUBAIR caused an electronic application for EIDL funds to be
submitted on behalf of Dubai Bridge Investments. The application claimed that Dubai Bridge
Investments was in the restaurant business even though the business claimed to be an investment
company and did not own any restaurants. The loan agreement form was signed by
MUZZAMMIL AL ZUBAIR on behalf of Dubai Bridge Investments. According to the terms of
the loan, Dubai Bridge Investments was required to “use all the proceeds of this loan solely as

working capital to alleviate economic injury caused by disaster.”

47. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR created a new bank
account for Dubai Bridge Investments, the PNC Bank account ending in 2216, on or about
February 8, 2021. This account received the proceeds of the loan on March 9, 2021. All of the
proceeds were spent by the end of March 2021. Instead of spending the funds on authorized
expenses, the funds were primarily spent on personal expenses unrelated to operating Dubai
Bridge Investments, including $2,183 on airline tickets, $1,183.68 at a fashion clothing
company, $4,000 at a high-end hotel in Cleveland, multiple restaurant purchases, purchases at
the Cleveland Aquarium, and 14 ATM withdrawals totaling over $6,000.

Nela Park Cryptocurrency Mining Scheme

48. Between in or around July 2021 and in or around May 2022, ZUBAIR AL
ZUBAIR and MUZZAMMIL AL ZUBAIR defrauded Victim 2 out of more than $3,000,000 and
cryptocurrency mining equipment worth at least $6,000,000 related to a fraudulent scheme to
start a cryptocurrency mining operation at Nela Park. ZUBAIR AL ZUBAIR and
MUZZAMMIL AL ZUBAIR convinced Victim 2 to invest in a proposed cryptocurrency mining

project at Nela Park by falsely claiming that they controlled Nela Park and could obtain large

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amounts of electrical power at a cheap cost. Based on these representations, on or about August
11, 2021, Victim 2 signed a contract with Dubai Bridge Investments to set up cryptocurrency
mining at Nela Park in which Victim 2 agreed to pay $3,000,000 to Dubai Bridge Investments in
a series of payments. The first $1,000,000 was due upon signing, and the other $2,000,000 was
due when certain benchmarks were met. Victim 2 paid the first $1,000,000 after signing the
contract. Despite not actually owning or controlling Nela Park in any way, ZUBAIR AL
ZUBAIR requested early payment of the $2,000,000 from Victim 2 by falsely claiming that the
money was needed to pay for upgrades to Nela Park. After Victim 2 provided the funds in
September 2022, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR spent most of the

funds on personal items and did not use it for upgrades to Nela Park.

49, Victim 2 arranged for the shipment of hundreds of containers and thousands of
miners from China to Nela Park. Because ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR did not actually own Nela Park, they falsely informed Victim 2 that there was a
mercury contamination problem at Nela Park that prevented them from shipping the containers
and miners there. Later, when Victim 2 saw a news report that Nela Park had been sold to
Phoenix Investors, and not to ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR,
ZUBAIR AL ZUBAIR claimed the reason was the mercury contamination.

50. Inthe spring of 2022, after Victim 2 complained about the status of the Nela Park
cryptocurrency mining project, ZUBAIR made a new agreement with Victim 2 in which he
claimed his family would pay Victim 2 $33,000,000 to invest in the cryptocurrency mining
project. ZUBAIR AL ZUBAIR then told Victim 2 that in order to send the funds to her bank
account, they needed a series of smaller transactions to establish a history between the accounts.

As aresult, ZUBAIR AL ZUBAIR requested that Victim 2 send several wire transfers totaling

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$160,000 to his personal bank account.

51. In March and April 2022, ZUBAIR AL ZUBAIR told Victim 2 that they needed
to display the mining computers for political officials and the bank in order to get the
$33,000,000 payment he had promised. Victim 2 agreed to temporarily display the miners. She
gave access to the storage facility where the miners were stored to MUZZAMMIL AL ZUBAIR.
MUZZAMMIL AL ZUBAIR took 1,067 miners from the storage facility. Instead of displaying
the miners, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR sold them to a Canadian
company for over $6,000,000 without Victim 2’s permission. After Victim 2 repeatedly asked
ZUBAIR about the status of the miners that were taken for display and demanded the
$33,000,000 that ZUBAIR had promised, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR made a series of smaller payments totaling $800,000 to Victim 2 from the proceeds.
ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR never returmed the miners. ZUBAIR
AL ZUBAIR and MUZZAMMIL AL ZUBAIR also sold some of the Ant Box containers

without Victim 2’s knowledge or permission and kept the proceeds.

Commercial Property Lease Scheme

52. ‘In February 2022, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR used
falsified financial documentation to attempt to obtain a lease for commercial property owned by
Victim Company | in Cleveland, Ohio, for the stated purpose of opening a high-end restaurant.
In order to obtain the lease, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR were
required to provide proof of their financial resources to the lessor, Victim Company 1. ZUBAIR
AL ZUBAIR and MUZZAMMIL AL ZUBAIR provided a TD Ameritrade account statement
that MUZZAMMIL AL ZUBAIR had altered to show that they had significantly more funds

than they did in reality in an attempt to prove that they had sufficient financial resources to make

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lease payments,
Residential Property Lease Scheme

53. In March 2022, ZUBAIR AL ZUBAIR used falsified financial documentation to
obtain the lease to a high-end residential property in Bratenahl, Ohio, owned by Victim 3. When
asked to provide proof of financial resources, ZUBAIR AL ZUBAIR provided a bank statement
that MUZZAMMIL AL ZUBAIR had altered and caused to be altered to show that he had far
greater funds in his account than he had in reality. Victim 3 leased the residence to ZUBAIR AL
ZUBAIR, who paid the rent for the first year with proceeds from these schemes. After renewing
the lease for another year, ZUBAIR AL ZUBAIR stopped paying rent and caused and allowed to

be caused significant property damage before being evicted in August 2023.
Military Munitions Scheme

54. In approximately June and July 2023, ZUBAIR AL ZUBAIR and MUZZAMMIL
AL ZUBAIR engaged in a fraudulent attempt to obtain funds in connection with purportedly
arranging the sale of millions of dollars-worth of military munitions from foreign suppliers.
After obtaining a list of military munitions from a potential purchaser, ZUBAIR AL ZUBAIR
contacted individuals in Romania, New York, the U.A.E., and Indonesia about finding sources to
supply the munitions and provided them the list of munitions. To induce these individuals to
arrange a transaction brokered by ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR,
ZUBAIR AL ZUBAIR falsely claimed that he was seeking the munitions on behalf of his uncle,
falsely claimed his uncle was a member of the government of Saudi Arabia, and falsely claimed.
that he could obtain the required licenses and documentation to conduct the transaction. The
primary purpose of the scheme was not to actually complete the sale of the military munitions,

but was instead to use false pretenses to convince the purchaser to transfer to ZUBAIR AL

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ZUBAIR and MUZZAMMIL AL ZUBAIR a monetary commission for arranging a transaction,
advance payments for the munitions purportedly to be provided, or both.
Acts in Furtherance of the Conspiracy

In furtherance of the conspiracy, and to effect the objects and conceal the existence
thereof, a member of the conspiracy performed acts in the Northern District of Ohio, and
elsewhere, including, but not limited to, the following:

UAE. Investor Scheme

55. On or about May 27, 2020, MUZZAMMIL AL ZUBAIR opened a bank account
for Al Zubair Capital ending in 9283 at JP Morgan Chase Bank.

56. Onor about June 24, 2020, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused Victim 1 to wire transfer $18,500 to the Al Zubair Capital bank account ending
in 9283. The wire transfer referenced “Commercial Investments.”

57, On or about September 8, 2020, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused Victim 1 to wire transfer $67,862.86 and $58,550 to the Al Zubair Capital bank
account ending in 9283. The wire transfers referenced “Commercial Investments.”

58. On or about November 17, 2020, ZUBAIR AL ZUBAIR emailed Victim 1 a copy
of a TD Ameritrade account statement for Al Zubair Capital that had been altered to show
greater amounts than were actually in the account.

59. On or about November 27, 2020, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused Victim 1 to wire transfer $65,000, $65,000, $54,400, and $27,200 to the Al
Zubair Capital bank account ending in 9283. The wire transfer referenced “ETFS Penn.”

60.  Onor about January 28, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL

ZUBAIR caused Victim 1 to wire transfer $54,362.60 to the Al Zubair Capital bank account

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ending ini 9283. The wire transfer referenced “Commercial Investments.”

61. Onoor about February 5, 2021, ZUBAIR AL ZUBAIR emailed Victim 1 a copy of
a TD Ameritrade account statement for Al Zubair Capital that had been altered to show greater

amounts than were actually in the account.

62. On or about April 1, 2021, ZUBAIR AL ZUBAIR sent Victim 1 an email in
which he sought an investment of approximately $3,000,000 to $4,000,000 by Victim 1 and her
family, in which he promised, “The 4mm [$4,000,000] will be covered by a bank guarantee and
a ql [first quarter] net profit north of 120% roi [return on investment].” He also represented that
“by year end—your looking at an appreciation of approximately 9mm usd [$9,000,000] 4mm’s
[$4,000,000] or in our (beginners case}—3mm usd [$3,000,000] at a 500k [$500,000]
placement.”

63. Onor about April 1, 2021, ZUBAIR AL ZUBAIR emailed Victim 1 a copy of a
TD Ameritrade account statement for Al Zubair Capital that had been altered to show greater
amounts than were actually in the account.

64. On or about April 12, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused Victim 1 to wire transfer $450,000 to the Al Zubair Capital bank account
ending in 9283. The wire transfer referenced “Investment.”

65. Onor about May 6, 2021, ZUBAIR AL ZUBAIR emailed Victim 1 a copy ofa
TD Ameritrade account statement for Al Zubair Capital that had been altered to show greater
amounts than were actually in the account.

66. On or about August 8, 2021, ZUBAIR AL ZUBAIR emailed Victim 1 a copy ofa

TD Ameritrade account statement for Al Zubair Capital that had been altered to show greater

amounts than were actually in the account.
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SBA EIDL Scheme

67. On or about February 8, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL

ZUBAIR opened a bank account for Dubai Bridge Investments at PNC Bank ending in 2216.

68. On or about February 19, 2021, MUZZAMMIL AL ZUBAIR caused to be
submitted an online application for a COVID-19 EIDL from the SBA for Dubai Bridge

Investments.

69. Onor about March 2, 2021, MUZZAMMIL AL ZUBAIR electronically signed

the EIDL Loan Agreement for Dubai Bridge Investments.

70. On or about March 9, 2021, MUZZAMMIL AL ZUBAIR and ZUBAIR AL
ZUBAIR caused $27,400 in EIDL loan proceeds to be transferred to the Dubai Bridge

Investments PNC bank account ending in 2216.

Nela Park Cryptocurrency Mining Scheme

71.‘ In or around July 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR
paid Individual 1 approximately $50,000 to arrange for an introduction with Victim 2 to discuss
a cryptocurrency mining venture at Nela Park.

72. Onor about July 23, 2021, ZUBAIR AL ZUBAIR sent Victim 2 a text message
regarding Nela Park that referred to it as “the property we currently control.”

73.  Onor about July 25, 2021, ZUBAIR AL ZUBAIR sent an email to Victim 2 that
was copied to MUZZAMMIL AL ZUBAIR with additional information about Nela Park that
referred to it as “our property.”

74. Onor about July 25, 2021, ZUBAIR AL ZUBAIR sent another email to Victim 2
that was copied to MUZZAMMIL AL ZUBAIR about Nela Park that said, “There are 30+

buildings under our control and this industrial park.”

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75, On or about July 27, 2021, ZUBAIR AL ZUBAIR sent Victim 2 a text message
that stated, “We would like to share with you that all electrical power supply and upgrades will
be handled and fully provided by us (DBD as your partner.”

76. On or about July 29, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR toured Nela Park with Victim 2.

77, On or about August 5, 2021, ZUBAIR AL ZUBAIR sent an email to Victim 2
that was copied to MUZZAMMIL AL ZUBAIR with a chart claiming that Dubai Bridge
Investments could provide electrical power at an initial cost of $0.04 per kilowatt/hour with
reductions to even less as the project progressed.

78.  Onor about August 10, 2021, MUZZAMMIL AL ZUBAIR sent Victim 2 an
email, copied to ZUBAIR AL ZUBAIR, with a proposed contract between Dubai Bridge
Investments and Victim 2 for developing a cryptocurrency mining venture at Nela Park.

79. Onor about August 10, 2021, MUZZAMMIL AL ZUBAIR replied by email,
copied to ZUBAIR AL ZUBAIR. In his reply, MUZZAMMIL AL ZUBAIR did not provide
proof of right of possession or ownership to the property at Nela Park or of capacity to obtain
electricity at the quoted cost. Instead he replied: “Since [Cryptocurrency Mining Company 1]
isn’t taking all the property as once expected or specified if it will be positioning the containers
in a specific structure or outdoors, we will proceed in the following way post execution of

agreement: 1, Issuing a notarized bill of rights to operate at the address at the specific structure

of your choosing. 2. Our agreement with the power source and transmission company covers not

only [Cryptocurrency Mining Company 1] but our additional commitments at Nela Park and
surrounding area, which we will keep internal. However, we will commit per the agreement to

granting your power at cost. I believe Zubair previously discussed this with [Victim 2].”

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80.  Onor about August 11, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR attended a signing ceremony for a contract between Dubai Bridge Investments and
Victim 2 at the East Cleveland Mayor’s Office that was attended by Victim 2, Individual 1, the
East Cleveland Mayor, Smedley, the City’s law director, and others.

81. On or about August 11, 2021, ZUBAIR AL ZUBAIR, on behalf of Dubai Bridge
Investments, and Victim 2 signed a contract for development of cryptocurrency mining at Nela
Park. The contract included the following provisions, each representation constituting an act in
furtherance of the scheme:

a, ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR caused Victim 2
to agree to pay Dubai Bridge Investments a total of $3,000,000. The first $1,000,000 was “due
at signing of this agreement,” the second $1,000,000 “upon activation of the initial 48 mining
machines,” and the final $1,000,000 “upon activation of the folowing 100 megawatts.”

b. Dubai Bridge Investments agreed to “supply [Cryptocurrency Mining
Company 1] with its power and pricing shall not exceed .04 cents per kilowatt hour and shall
decrease to .035 cents per kilowatt hour within 3-4 months.”

c. The representations and warranties included that Dubai Bridge
Investments “possess the rights and authority to lease, rent, borrow and handover occupancy of
Nela Park including but not limited to equipment and power sources including general property
assets to any developer or tenant of any capacity.”

d. Further, Dubai Bridge Investments “recognizes that completion of
ownership and maturity of ownership deed to Nela Park will mature/complete at Q4 of 2021.”

82. On or about August 25, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL

ZUBAIR caused Victim 2 to wire transfer $1,000,000 from a Hong Kong bank account to the Al

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Zubair Capital bank account ending in 9283.

83. Onor about September 27, 2021, ZUBAIR AL ZUBAIR sent a text message to
Victim 2 requesting that she pay the remaining $2,000,000 due under the contract early, even
though the conditions for payment in the contract had not been met: “If fact, it would be helpful
if you could release the remaining 2mm [$2,000,000] to my team to help with their upgrade and
operation expenses. We’re doing a lot of spending and acquisitions to reach 3gw and that’s
important. So that would really help them. And I don’t want everyone to know what I am
purchasing. We will announce our power capacities together later.”

84. Onor about September 29, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused Victim 2 to wire transfer $2,000,000 from a Hong Kong bank account to the Al
Zubair Capital bank account ending in 9283.

85. On or about October 25, 2021, ZUBAIR AL ZUBAIR informed Victim 2 that the
large containers for cryptocurrency miners that she had paid to be shipped from Hong Kong to
Nela Park could not be delivered to Nela Park because of a mercury contamination problem.
ZUBAIR AL ZUBAIR sent Victim 2 a copy of a report that he claimed showed there was
mercury contamination at the site. In reality, the report was about providing a permit for limited
mercury discharge to Nela Park.

86. In or around October 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused Victim 2 to place the larger containers for cryptocurrency miners that she had
shipped from Hong Kong into storage.

87. In or around March 2022, ZUBAIR AL ZUBAIR caused Victim 2 to make a new
agreement in which he promised that his family would provide $33,000,000 in payments to

Victim 2 to fund the Nela Park cryptocurrency mining project and Victim 2 agreed to provide

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1,500 miners.

88. Onor about March 16, 2022, after Victim 2 complained about problems with
eryptocurrency mining in Kazakhstan, ZUBAIR AL ZUBAIR text messaged, “I know the ruling
family there. ‘They deal with my family alot in Dubai.”

89. On or about March 16, 2022, ZUBAIR AL ZUBAIR told Victim 2 by text
message that she needed to send a wire transfer to his personal bank account so that they could
“establish a transaction history” between their accounts before he transferred the $33,000,000 he
had promised to her account.

90. On or about March 16, 2022, ZUBAIR AL ZUBAIR caused Victim 2 to wire
transfer $40,000 to his personal bank account.

91, On or about March 22, 2022, ZUBAIR AL ZUBAIR sent a text message to
Victim 2 requesting additional wire transfers to his personal account: “I was talking to our Dubai
and USA accountant. To be safe from certain government exposure we need 3 previous
transactions in total between us... Totaling at least 75-80k. So you need to send 2 more
transfers. Maybe 20k and another 10-15k =75k total. And then at the end of the month we wire
it back to you separately. Then we send the 5-7 million in 2 separate transactions.”

92. On or about March 22, 2022, ZUBAIR AL ZUBAIR caused Victim 2 to wite
transfer $15,000 to his personal bank account.

93. On or about March 23, 2022, ZUBAIR AL ZUBAIR caused Victim 2 to wire
transfer $25,000 to his personal bank account.

94. Onor about March 25, 2022, after Victim 2 saw a news article reporting that Nela
Park was being sold to another company, not Dubai Bridge Investments, ZUBAIR AL ZUBAIR

text messaged Victim 2 that “this was due to the mercury,” and explained, “And now [the other

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company] will hand it over to us in April...”

95, On or about March 29, 2022, ZUBAIR AL ZUBAIR sent another text message to
Victim 2 requesting additional wire transfers to his account: “I miss understood Mr. Disny-our
family accountant ... He’s saying it’s necessary that he have at least 3 transactions from your
account to mine totalling 158k to 160k USD. He’s saying the first payment will reach
Wednesday night America time...”

96. On or about March 29, 2022, ZUBAIR AL ZUBAIR caused Victim 2 to wire
transfer $80,000 to his personal bank account.

97. On or about March 31, 2022, ZUBAIR AL ZUBAIR requested that Victim 2
allow him to display a large number of her cryptocurrency mining machines, which he claimed
was necessary to obtain the funds promised to Victim 2. ZUBAIR AL ZUBAIR texted Victim 2:
“Can we please bring 3000 miners to East Cleveland We should have them for some for Nela
Park and another option the mayor will give me And I want to display them and show them to
the mayors and council presidents.”

98, On or about March 31, 2022, ZUBAIR AL ZUBAIR texted Victim 2: “I want 3
thousand [miners] for Nela but we will discuss something for infrastructure at mayors office I
need them all there first (at city hall).”

99. On or about March 31, 2022, ZUBAIR AL ZUBAIR texted Victim 2: “I want to
show my family and mayor 3000 machines Display purposes only.”

100. On or about April 4, 2022, ZUBAIR AL ZUBAIR texted Victim 2: “A few things
you need to do... Because we are telling the bank it is for our partnership with you in mining —
Bring the 3000 miners to East Cleveland (all 90TH) — mayor’s office is probably better — Share

me something like detailed receipt for the miners I will need them for the remaining funds. ... |

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think by the 11th we can have 33million [$33,000,000] in your account.”

101. Onor about April 4, 2022, after Victim 2 questioned why the bank needed to
approve the release of his family’s money and asked to confirm that the miners were to be put on
display only, ZUBAIR AL ZUBAIR texted Victim 2: “Here’s what you need to know sweetheart
miss [Victim 2] Firecracker I told my family and the mayor that we will have them on display
for the Ohio congress and council members until we move to Nela then we will shift them there
This is why my family sent the money.”

102. Onor about April 4, 2022, after Victim 2 further questioned why he needed to
display 3,000 miners instead of 1,500, ZUBAIR AL ZUBAIR texted, Victim 2: “They are for
showing and proof to mayor and governor to give excellent support and pricing for electricity
and many other supports ... This is how I get 33 million to arrive ... Just send the 1500 no
problem ... And we will only show the 2000.”

103. On or about April 5, 2022, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR sold at least 3 Antbox containers belonging to Victim 2 without Victim 2’s permission.
104, On or about April 5, 2022, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused $100,000 to be wire transferred into the Dubai Bridge Investments account

ending in 0302 for the sale of the Antbox containers.

105. Onor about April 11, 2022, after Victim 2 again asked to confirm if the miners
were just for display, ZUBAIR AL ZUBAIR answered, “Correct ... It’s just to secure all the
support for power expansion at Nela — mainly with government funding.”

106. On or about April 27, 2022, ZUBAIR AL ZUBAIR texted Victim 2, “We need at
least 1000 [miners] to show.”

107. Onor about April 27, 2022, MUZZAMMIL AL ZUBAIR took approximately

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539 miners belonging to Victim 2 from a storage facility in the Northern District of Ohio.

108. On or about May 3, 2022, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR agreed to sell 336 of Victim 2’s miners to Canadian Company 1 for $2,284,800.

109. On or about May 4, 2022, MUZZAMMIL AL ZUBAIR took approximately 528
miners belonging to Victim 2 from a storage facility in the Northern District of Ohio.

110. Onor about May 6, 2022, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused Canadian Company 1 to wire transfer $2,284,780 to the Dubai Bridge
Investments account ending in 0302.

111. Onor about May 18, 2022, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR agreed to sell 723 of Victim 2’s miners to Canadian Company 1| for $3,890,000.

112. On or about May 26, 2022, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused Canadian Company 1 to wire transfer $3,889,980 to the Dubai Bridge
Investments account ending in 0302.

113. Onor about June 9, 2022, Victim 2 asked ZUBAIR AL ZUBAIR about Antbox
containers that she had discovered were missing. Although ZUBAIR AL ZUBAIR had
previously sold the Antbox containers, he falsely responded, “They are in the power testing site I
told. You last night With jobs ohio.”

114. On or about July 3, 2022, after Victim 2 again asked about the status of the
machines that were taken for display, ZUBAIR AL ZUBAIR falsely claimed that he was paying
her for the machines, texting her: “Especially when my family is still sending you money for the
machines.”

115. On or about August 2, 2022, after Victim 2 again asked about the status of the

cryptocurrency miners that ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR took from

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her, ZUBAIR AL ZUBAIR responded by claiming that Victim 2 was supposed to have provided

him with 3,000 cryptocurrency miners and containers, but that he “only took a few

[eryptocurrency miners] for demonstration and to show my family you were serious.”
Commercial Property Lease Scheme

116. Onor about February 14, 2022, MUZZAMMIL AL ZUBAIR altered and caused
to be altered a TD Ameritrade statement for Al Zubair Capital to falsely show an inflated account
balance.

117. On or about February 14, 2022, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR caused a Dubai Bridge Investments employee to send a TD Ameritrade statement for
Al Zubair Capital that had been altered and caused to be altered by MUZZAMMIL AL ZUBAIR
to falsely inflate the account balance to Realtor 1.

118. On or about February 15, 2022, ZUBAIR AL ZUBAIR caused Realtor 1 to send
the altered TD Ameritrade account statement to Victim Company 1.

Residential Property Lease Scheme

119. Onor about March 13, 2022, MUZZAMMIL AL ZUBAIR altered and caused to
be altered a JP Morgan Chase Deposit Account Balance Summary statement dated March 10,
2022, for the Al Zubair Capital bank account to falsely show that the account had more funds in
it than it really had.

120. Onor about March 13, 2022, ZUBAIR AL ZUBAIR sent a text message to
Realtor 1 with the altered JP Morgan Chase Deposit Account Balance Summary statement dated
March 16, 2022, for the Al Zubair Capital account.

121. Onor about March 13, 2022, ZUBAIR AL ZUBAIR caused Realtor 1 to send the

altered JP Morgan Chase Deposit Account Balance Summary statement to Victim 3.

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Military Munitions Scheme
Businessperson 1; Romania
122. On about June 12, 2023, ZUBAIR AL ZUBAIR sent by text message to
Businessperson 1, located in Romania, a list of military munitions he claimed to be seeking.
ZUBAIR AL ZUBAIR also provided the destination of the munitions he was seeking: “The
goods ultimate destination is KSA [Kingdom of Saudi Arabia] via Kyrgyzstan Govt. Tender.”

Businessperson 2; New York

123. Inor around June 2023, ZUBAIR AL ZUBAIR told Businessperson 2, located in
New York, that he was obtaining military munitions on behalf of his uncle who was the
purchasing agent for the government of Saudi Arabia.

124. Onor about June 15, 2023, ZUBAIR AL ZUBAIR sent the same list of munitions
to Businessperson 2 that he previously sent to Businessperson 1.

125. Onor about June 15, 2023, ZUBAIR AL ZUBAIR sent this same list of
munitions to MUZZAMMIL AL ZUBAIR, who responded, “Okay cool.”

Businessperson 3 and Businessperson 4; U.A.E.

126. Inor around June 2023, ZUBAIR AL ZUBAIR told Businessperson 3, located in
the U.A.E, that he was seeking munitions on behalf of his uncle who was a minister in the
government of Saudi Arabia.

127. Onor about June 15, 2023, ZUBAIR AL ZUBAIR sent the same list of munitions
to Businessperson 3 that he previously sent to Businessperson 1 and Businessperson 2.

128. Onor about June 15, 2023, ZUBAIR AL ZUBAIR texted Businessperson 3:

“Keep me posted. Uncle putting me under pressure.” Businessperson 3 replied by sending an

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audio file purporting to be from the potential munitions supplier, along with a text message
translating the audio file: “Translation — he can do it.”

129. On or about June 20-21, 2023, Businessperson 3 attempted to arrange a
conference call with ZUBAIR AL ZUBAIR; Businessperson 4, who was also located in the
U.ALE. and knew a munitions manufacturer in Pakistan; and the munitions manufacturer in
Pakistan. MUZZAMMIL AL ZUBAIR attempted to join this call. The conference call failed
and had to be rescheduled.

130. On or about June 24, 2023, ZUBAIR AL ZUBAIR participated in a conference
call with Businessperson 3 and Businessperson 4 in the U.A.E. and a munitions manufacturer in
Pakistan. During the call, ZUBAIR AL ZUBAIR represented himself to be part of the royal
family of Saudi Arabia and that his uncle was the defense minister. After the manufacturer in
Pakistan informed ZUBAIR AL ZUBAIR that he would have to obtain the proper licenses and
approvals to purchase the munitions, ZUBAIR AL ZUBAIR responded that this would not be a
problem because his uncle was the defense minister of Saudi Arabia.

Businessperson 5: Indonesia

131. Onor about June 20, 2023, ZUBAIR AL ZUBAIR sent the same list of munitions
to Businessperson 5, located in Indonesia, that he previously sent to Businessperson 1,
Businessperson 2, and Businessperson 3. At the top of the list, ZUBAIR AL ZUBAIR wrote:
“The goods ultimate destination will be KSA [Kingdom of Saudi Arabia.”

132. Onor about June 27, 2023, Businessperson 5 forwarded text messages to
ZUBAIR AL ZUBAIR from a munitions supplier in Singapore with the address of the company

and the following instruction: “Hello Mr. *****, please send the LOI [letter of intent] to above

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company, attention to Mr. ****,” ZUBAIR AL ZUBAIR replied by text message: “Terrific I
will have the loi sent over.”

133. On or about June 27, 2023, ZUBAIR AL ZUBAIR invited Businessperson 5 to
visit the United States to do business with him by text message and boasted of his political
connections in the United States: “I have free land and residency opportunities I can give her in
the US. I’m also chief economic advisor to the governor and mayor under diplomatic rank in
Ohio. So [have a lot under my control.” Immediately after this text message, ZUBAIR AL
ZUBAIR texted Businessperson 5 a photo of a City of East Cleveland business card identifying
ZUBAIR AL ZUBAIR as “International Economic Advisor.”

All in violation of Title 18, United States Code, Section 1349.

COUNTS 2-15
(Wire Fraud, 18 U.S.C. §§ 1343 and 2)

The Grand Jury further charges:

134. The factual allegations of paragraphs | through 26 and 30 through 133 of this
Superseding Indictment are re-alleged and incorporated by reference as if fully set forth herein.

135. From in or around June 2020 to in or around August 2023, Defendants ZUBAIR
MEHMET ABDUR RAZZAQ AL ZUBAIR, aka ZUBAIR MEHMET ABDUR RAZZAQ, and
MUZZAMMIL MUHAMMAD AL ZUBAIR, aka MUZZAMMIL IBN MUHAMMAD,
together with others known and unknown to the Grand Jury, devised and intended to devise
schemes and artifices to defraud and to obtain money and property by means of materially false

and fraudulent pretenses, representations, and promises.

136. On or about the dates listed below, each transmission a separate and distinct
count, in the Northern District of Ohio and elsewhere, Defendants ZUBAIR AL ZUBAIR and

MUZZAMMIL AL ZUBAIR, for the purpose of executing the schemes listed below and

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described above, and attempting to do so, knowingly transmitted and caused to be transmitted by

means of wire communication in interstate and foreign commerce the following writings, signs,

signals, picture and sounds:

Count | Approx. Date

Scheme

Description of Wire
Communication

2 April 12, 2021

U.ALE, Investment Fraud
Scheme described in
Paragraphs 44-45

Wire transfer of $450,000 from
Victim 1 in the U.A.E. to Al Zubair
Capital account ending in 9283 in
Ohio described in Paragraph 64

3 February 19,
2021

SBA EIDL Scheme
described in Paragraphs 46-
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Online application for EIDL
submitted electronically from Ohio
to SBA servers in Iowa described in
Paragraph 68

4 March 9, 2021

SBA EIDL Scheme
described in Paragraphs 46-
AT

ACH deposit from SBA through
servers outside of Ohio to Dubai

Bridge Investments account ending
in 2216 in Ohio described in

Paragraphs 48-51

Paragraph 70
5 July 23, 2021 | Nela Park Cryptocurrency Text message from ZUBAIR AL
Mining Scheme described in | ZUBAIR in Ohio to Victim 2

outside Ohio regarding Nela Park

that referred to it as “the property

we currently control” described in
Paragraph 72

6 July 25, 2021

Nela Park Cryptocurrency
Mining Scheme described in
Paragraphs 48-51

Email from ZUBAIR AL ZUBAIR
in Ohio to Victim 2 that referred to
“30+ buildings under our control
and this industrial park” described
in Paragraph 74 that traveled
through servers outside Ohio

Paragraphs 48-51

7 August 5, Nela Park Cryptocurrency | Email from ZUBAIR AL ZUBAIR
2021 Mining Scheme described in ; to Victim 2 in Ohio with chart that
Paragraphs 48-51 claimed electrical power at $0.04
per kilowatt/hour or less described
in Paragraph 77 that traveled
through servers outside Ohio
8 August 10, | Nela Park Cryptocurrency Emaii from MUZZAMMIL AL
2021. Mining Scheme described in | ZUBAIR to Victim 2 in Ohio with

a proposed contract described in
Paragraph 78 that traveled through
servers outside Ohio

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Count | Approx. Date | Scheme Description of Wire
Communication
9 August 25, | Nela Park Cryptocurrency Wire transfer of $1,000,000 from
2021 Mining Scheme described in | Victim 2 from bank account in
Paragraphs 48-51 Hong Kong to Al Zubair Capital
account ending in 9283 in Ohio
described in Paragraph 82
10 September 29, | Nela Park Cryptocurrency Wire transfer of $2,000,000 from
2021 Mining Scheme described in | Victim 2 from bank account in
Paragraphs 48-51 Hong Kong to Al Zubair Capital
account ending in 9283 in Ohio
described in Paragraph 84
li May 6, 2022 | Nela Park Cryptocurrency Wire transfer of $2,284,780 from
Mining Scheme described in | Canadian Company | in Canada to
Paragraphs 48-51 Dubai Bridge Investments account
ending in 0302 in Ohio described in
Paragraph 110
12 May 26, 2022 | Nela Park Cryptocurrency Wire transfer of $3,889,980 from
Mining Scheme described in | Canadian Company 1 in Canada to
Paragraphs 48-51 Dubai Bridge Investments account
ending in 0302 in Ohio described in
Paragraph 112
13 July 3, 2022 | Nela Park Cryptocurrency Text message from ZUBAIR AL
Mining Scheme described in | ZUBAIR outside of Ohio to Victim
Paragraphs 48-51 2 in Ohio with false claim that “my
family is still sending you money
for the machines” described in
Paragraph 114
14 February 15, | Commercial Property Lease | Email from Realtor 1 in Ohio to
2022 Scheme described in Victim Company 1 with altered TD
Paragraph 52 Ameritrade statement describe in
Paragraph 118 that traveled through
servers outside Ohio
15 March 13, Residential Property Lease | Text message from Realtor 1 in
2022 Scheme described in Ohio to Victim 3 outside United

Paragraph 53

States with altered JP Morgan
Chase Deposit Account Balance
Summary statement described in
Paragraph 121

All in violation of Title 18, United States Code, Sections 1343 and 2.

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COUNT 16
(Conspiracy to Commit Money Laundering, 18 U.S.C. § 1956(h))

‘The Grand Jury further charges:

137. The factual allegations of paragraphs 1 through 26 and 30 through 133 of this
Superseding Indictment are re-alleged and incorporated by reference as if fully set forth herein.

138. From in or around June 2020 to in or around August 2023, in the Northern District
of Ohio, Eastern Division and elsewhere, Defendants ZUBAIR MEHMET ABDUR RAZZAQ
AL ZUBAIR, aka ZUBAIR MEHMET ABDUR RAZZAQ, and MUZZAMMIL MUHAMMAD
AL ZUBAIR, aka MUZZAMMIL IBN MUHAMMAD, and others known and unknown to the
Grand Jury, did knowingly combine, conspire, confederate, and agree to commit offenses against
the United States in violation of Title 18, United States Code, Sections 1956 and 1957, to wit:

a, to knowingly conduct and attempt to conduct financial transactions
affecting interstate and foreign commerce, which transactions involved the proceeds of specified
unlawful activity, that is, conspiracy to commit wire fraud and wire fraud as alleged in Counts 1
through 15, knowing that the transactions were designed in whole or in part to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of specified
unlawful activity, and that while conducting and attempting to conduct such financial
transactions, knew that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, in violation of Title 18, United States Code, Section
1956(a)(1)(B)G); and

b. to knowingly engage and attempt to engage, in monetary transactions by,
through or to financial institutions, affecting interstate and foreign commerce, in criminally
derived property of a value greater than $10,000, such property having been derived from

specified unlawful activity, that is, conspiracy to commit wire fraud and wire fraud as alleged in

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Counts 1 through 15, in violation of Title 18, United States Code, Section 1957.

Manner and Means of the Conspiracy

It was part of the conspiracy that:

139. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR established multiple
bank accounts for Dubai Bridge Investments, a bank account for Al Zubair Capital, a TD

Ameritrade account for Al Zubair Capital, and personal bank accounts.

140. After receiving proceeds from the schemes described in Count 1, ZUBAIR AL
ZUBAIR and MUZZAMMIL AL ZUBAIR transferred the proceeds among and back and forth

between different accounts using checks, cash withdrawals and deposits, and wire transfers.

141. After conducting financial transactions moving proceeds among these accounts,
ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR spent the proceeds to their own

benefit.

142. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR engaged in multiple
monetary transactions by, through, and to financial institutions, affecting interstate and foreign
commerce, involving proceeds from the schemes described in Count 1, of a value greater than
$10,000.00, including making large cash withdrawals and spending on luxury vehicles, travel on
private jets, luxury travel, lavish hotel stays, entertainment, shopping, jewelry, firearms, and
other luxury items.

All in violation of Title 18, United States Code, Section 1956(h).

Counts 17-20
(Money Laundering, 18 U.S.C. §§ 1957 and 2)

The Grand Jury further charges:

143. The factual allegations of paragraphs 1 through 26 and 30 through 133 of this

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Superseding Indictment are re-alleged and incorporated by reference as if fully set forth herein.

144. On or about the dates set forth below, in the Northern District of Ohio, Eastern
Division and elsewhere, Defendants ZUBAIR MEHMET ABDUR RAZZAQ AL ZUBAIR, aka
ZUBAIR MEHMET ABDUR RAZZAQ, and MUZZAMMIL MUHAMMAD AL ZUBAIR, aka
MUZZAMMIL IBN MUHAMMAD, knowingly engaged and attempted to engage in the
following monetary transactions by, through, and to a financial institution, affecting interstate
and foreign commerce, in criminally derived property of a value greater than $10,000.00, that is,
wire transfers of funds, such property have been derived from a specified unlawful activity that
is, conspiracy to commit wire fraud and wire fraud, as alleged in Counts 1 through 16 of this

Indictment, each transaction constituting a separate offense:

Count | Date Monetary Transaction Amount

17 January 7, 2022 | Wire transfer from Al Zubair Capital $15,035
account ending in 9283 to firearms
dealer for purchase of security
equipment

18 May 20, 2022 | Debit Card purchase at Saks Fifth $11,540.88
Avenue from Dubai Bridge Investments
account ending in 0302

19 June 7, 2022 Debit Card purchase at Honda of $19,745.92
Cleveland Heights from Dubai Bridge
Investments account ending in 0302

20 August 24, Wire transfer from Dubai Bridge $83,500
2022 Investments account ending in 0302 to
Cleveland Browns for luxury suite

All in violation of Title 18, United States Code, Sections 1957 and 2.

Count 21
(Theft of Government Funds, 18 U.S.C. §§ 641 and 2)

The Grand Jury further charges:
145. The factual allegations of paragraphs 1 through 26 and 30 through 133 of this

Superseding Indictment are re-alleged and incorporated by reference as if fully set forth herein.

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146.  Onor about March 9, 2021, in the Northern District of Ohio, Eastern Division,
and elsewhere, Defendants ZUBAIR MEHMET ABDUR RAZZAQ AL ZUBAIR, aka ZUBAIR
MEHMET ABDUR RAZZAQ, and MUZZAMMIL MUHAMMAD AL ZUBAIR, aka
MUZZAMMIL IBN MUHAMMAD knowing and willfully embezzled, stole, purloined, and
converted to their own use money of the United States or any department or agency thereof, of a
value exceeding $1,000, to wit: $27,400 in SBA EIDL funds obtained by fraud.

All in violation of Title 18, United States Code, Sections 641 and 2.

Count 22
(Harboring a Fugitive, 18 U.S.C. § 1071)

The Grand Jury further charges:

147. On or about February 23, 2023, a Grand Jury in the Northern District of Ohio
returned an indictment charging Kelvin Bedell with Possession with Intent to Distribute a
Controlled Substance and Money Laundering Conspiracy. On or about February 23, 2023, a
warrant was issued for Bedell’s arrest on the indictment.

148. On or about June 24, 2023, ZUBAIR AL ZUBAIR received and read a text
message with a link to a news story that described Bedell as a fugitive wanted by the United
States Marshal’s Service. After receiving this message, ZUBAIR AL ZUBAIR provided Bedell
with transportation and allowed him to stay at his residence.

149. Between on or about June 24, 2023, and on or about August 8, 2023, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendant ZUBAIR MEHMET
ABDUR RAZZAQ AL ZUBAIR, aka ZUBAIR MEHMET ABDUR RAZZAQ, harbored and
concealed Kelvin Bedell, a person for whose arrest a warrant and process had been issued under
the provisions of a law of the United States, so as to prevent the discovery and arrest of Kelvin

Bedell, after notice and knowledge of the fact that a warrant and process had been issued for the

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apprehension of Kelvin Bedell, and which warrant had been issued on a felony charge.
All in violation of Title 18, United States Code, Section 1071.

COUNT 23
(Aiding and Assisting in the Preparation of a False Tax Return, 26 U.S.C. § 7206(2))

The Grand Jury further charges:

150. On or about October 11, 2022, in the Northern District of Ohio, Eastern Division,
and elsewhere, Defendant ZUBAIR MEHMET ABDUR RAZZAQ AL ZUBAIR, aka ZUBAIR
MEHMET ABDUR RAZZAQ, willfully aided and assisted in, and procured, counseled, and
advised the preparation and presentation to the Internal Revenue Service of ZUBAIR AL
ZUBAIR’s United States Individual Income Tax Return, Form 1040, for calendar year 2021,
which was false and fraudulent as to a material matter. The Form 1040 understated ZUBAIR AL
ZUBAIR’s total income on line 9 by failing to report income ZUBAIR AL ZUBAIR had that
year, whereas ZUBAIR AL ZUBAIR knew that his actual total income substantially exceeded
the amount reported, including substantial income received through the offense alleged in Count
1 of this Superseding Indictment.

All in violation of Title 26, United States Code, Section 7206(2).

COUNT 24
(Aiding and Assisting in the Preparation of a False Tax Return, 26 U.S.C. § 7206(2))

The Grand Jury further charges:

151.  Onor about June 10, 2023, in the Northern District of Ohio, Eastern Division, and
elsewhere, Defendant MUZZAMMIL MUHAMMAD AL ZUBAIR, aka MUZZAMMIL IBN
MUHAMMAD, willfully aided and assisted in, and procured, counseled, and advised the
preparation and presentation to the Internal Revenue Service of MUZZAMMIL AL ZUBAIR’s

Amended United States Individual Income Tax Return, Form 1040-X, for calendar year 2021,

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which was false and fraudulent as to a material matter. The Form 1040-X understated
MUZZAMMIL AL ZUBAIR’s adjusted gross income on line 1, column C, by failing to report
income MUZZAMMIL AL ZUBAIR had that year, whereas MUZZAMMIL AL ZUBAIR knew
that his actual adjusted gross income substantially exceeded the amount reported, including
substantial income received through the offense alleged in Count 1 of this Superseding
Indictment.

All in violation of Title 26, United States Code, Section 7206(2).

COUNT 25
(Willful Failure to File Tax Return, 26 U.S.C. § 7203)

The Grand Jury further charges:

152. During calendar year 2022, Defendant ZUBAIR MEHMET ABDUR RAZZAQ
AL ZUBAIR, aka ZUBAIR MEHMET ABDUR RAZZAQ, a resident of Cleveland, Ohio, had
and received gross income in excess of $12,900 for an individual and $19,400 for head of
household, including substantial income received through the offense alleged in Count | of this
Superseding Indictment. By reason of such gross income, he was required by law, following the
close of calendar year 2022, and on or before April 18, 2023, to make an income tax return to the
Internal Revenue Service, stating specifically the items of his gross income and any deductions
and credits to which he was entitled. Knowing and believing all of the foregoing, he did
willfully fail, on or about April 18, 2023, in the Northern District of Ohio, Eastern Division, to
make an income tax return.

All in violation of Title 26, United States Code, Section 7203.

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COUNT 26
(Conspiracy to Commit Bribery Concerning Programs Receiving Federal Funds,
18 U.S.C. § 371)
The Grand Jury further charges:

153. The factual allegations of paragraphs 1 through 26 and 30 through 133 of this
Superseding Indictment are re-alleged and incorporated by reference as if fully set forth herein.

154. The City of East Cleveland was a municipal corporation and a political
subdivision of the State of Ohio located in the Northern District of Ohio. The City of East
Cleveland received over $10,000 in federal funds during each of the calendar years material to
this count of the Indictment.

155. Defendant MICHAEL LEON SMEDLEY was an employee and agent of the City
of East Cleveland, as that term is defined in Title 18, United States Code, Section 666(d)}{1),
having the titles of Chief of Staff and Executive Assistant to the Mayor.

156. Jobs Ohio was a non-profit corporation created by the State of Ohio pursuant to
Section 187 of the Ohio Revised Code. Jobs Ohio’s board members were appointed by the
Governor of the State of Ohio. Jobs Ohio’s mission included fostering economic growth and
improving job opportunities in Ohio.

The Conspiracy

157. From in or around January 2021, and continuing to in or around January 2023, in
the Northern District of Ohio, Eastern Division, Defendants ZUBAIR MEHMET ABDUR
RAZZAQ AL ZUBAIR, aka ZUBAIR MEHMET ABDUR RAZZAQ, MUZZAMMIL
MUHAMMAD AL ZUBAIR, aka MUZZAMMIL IBN MUHAMMAD, MICHAEL LEON
SMEDLEY and others known and unknown to the grand jury, did knowingly and intentionally,

conspire, confederate, and agree together and with each other to commit an offense against the

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United States, that is, bribery concerning programs receiving federal funds, in violation of Title
18 United States Code, Section 666(a)(1)(B) and (a)(2).

The Objects of the Conspiracy

158. The objects of the conspiracy were for: (a) SMEDLEY to corruptly solicit,
demand, accept and agree to accept things of value for himself and to the benefit of others, from
ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR, intending to be influenced and
rewarded in connection with business, a transaction, and a series of transactions of the City of
East Cleveland involving a thing of value of $5,000 and more; (b) for ZUBAIR AL ZUBAIR
and MUZZAMMIL AL ZUBAIR to corruptly give, offer, and agree to give things of value to
any person, namely, SMEDLEY, intending to influence SMEDLEY in connection with any
business, transaction, and series of transactions of the City of East Cleveland involving a thing of
value of $5,000 and more; and (c) for Defendants to promote their financial and personal goals
by concealing and attempting to conceal from the City of East Cleveland, the State of Ohio, the
public, and law enforcement their corrupt relationship with one another and their solicitations
and offers of bribes to and from one another.

The Manner and Means of the Conspiracy

159. It was part of the conspiracy that:

a. MUZZAMMIL AL ZUBAIR and ZUBAIR AL ZUBAIR would and did
corruptly offer to give things of value to SMEDLEY, including but not limited to: checks in
excess of $5,000, promises of future employment, money, use of luxury cars, shoes and clothing,
food and consumer goods, and tickets to sporting events.

b. MUZZAMMIL AL ZUBAIR and ZUBAIR AL ZUBAIR provided and

offered to provide these things of value to influence and reward SMEDLEY in connection with

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business, transactions and a series of transactions involving the City of East Cleveland, both as
requested and as the opportunities arose.

c. MUZZAMMIL AL ZUBAIR and ZUBAIR AL ZUBAIR provided and
offered to provide these things of value to SMEDLEY, and SMEDLEY solicited, accepted, and
agreed to accept these things of value, in exchange for SMEDLEY using his official position to
provide, and cause to be provided, to MUOZZAMMIL AL ZUBAIR and ZUBAIR AL ZUBAIR
favorable treatment and official action, including by SMEDLEY using his official position
providing advice to other officials, knowing and intending that such advice will form the basis
for such favorable official action by those officials, and to exert pressure on other officials to
provide such favorable official action.

d. The types of business and transactions that MUZZAMMIL AL ZUBAIR
and ZUBAIR AL ZUBAIR sought included but were not limited to:

i. Official Jobs and Titles in the City of East Cleveland;
ii. Navigating and influencing government agency bureaucracy in East
Cleveland and with others;

iii. Obtaining official letters on East Cleveland letterhead to influence others
and achieve favorable outcomes in administrative, judicial and other
proceedings;

iv. Hosting official signing ceremonies in the City of East Cleveland;

vy. Providing City of East Cleveland police badges to ZUBAIR AL ZUBAIR
and MUZZAMMIL AL ZUBAIR;

vi. Issuing City of East Cleveland business cards to ZUBAIR AL ZUBAIR;

and:

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vil. Obtaining access to private information available to SMEDLEY that was
relevant to the dealings of ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR, including information about law enforcement investigations.

e. Defendants attempted to avoid discovery of their corrupt relationship by,
among other things, creating letters of intent to avoid scrutiny by the Ohio Ethics Commission or
the City of East Cleveland and by SMEDLEY providing checks to repay some part of the
benefits provided by ZUBAIR AL ZUBAIR such as Cleveland Browns tickets at less than full
value.

f. ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR used the
benefits they obtained from SMEDLEY in furtherance of the fraudulent schemes described in
Count 1.

Overt Acts

160. In furtherance of the conspiracy and to effect the objects thereof, a member of the
conspiracy committed the following overt acts, among others, in the Northern District of Ohio,
and elsewhere:

161. On or about March 6, 2021, MUZZAMMIL AL ZUBAIR sent ZUBAIR AL
ZUBAIR a text message stating, “when u go to dinner with smitley use the capital one card but
you gotta try & keep it under $215.”

162. On or about March 21, 2021, MUZZAMMIL AL ZUBAIR and ZUBAIR AL
ZUBAIR provided SMEDLEY with food.

163. On or about March 28, 2021, MUZZAMMIL AL ZUBAIR and ZUBAIR AL

ZUBAIR provided SMEDLEY with food.

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164. On or about June 17, 2021, MUZZAMMIL AL ZUBAIR and ZUBAIR AL
ZUBAIR offered to provide SMEDLEY with food.

165. On or about June 24, 2021, MUZZAMMIL AL ZUBAIR and ZUBAIR AL
ZUBAIR offered to feed SMEDLEY and other employees of East Cleveland.

166. On or about June 28, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL

ZUBAIR exchanged the following text messages

ZUBAIR: We have to pay Smedley.
MUZZAMMIL: How much?
ZUBAIR: 3k

167. Onor about July 9, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR exchanged the following messages:

ZUBAIR: Let’s book hyde park w/ Smedley for Saturday
MUZZAMMIL: Ight [alright] ...

168. On or about July 26, 2021, ZUBAIR AL ZUBAIR sent MUZZAMMIL AL
ZUBAIR a text message stating, “Yo Salam Alaik Don’t forget Smedley’s cigars please,” to
which MUZZAMMIL AL ZUBAIR replied, “Fasho.”

169. Inor around July through August 2021 SMEDLEY arranged to host an official
signing ceremony for ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR at East
Cleveland City Hall in the Mayor’s office.

170. Onor about August 11, 2021, SMEDLEY hosted ZUBAIR AL ZUBAIR and
MUZZAMMIL AL ZUBAIR at the East Cleveland Mayor’s office for the official signing
. ceremony described in Paragraph 80.

171. Onor about August 15, 2021, ZUBAIR AL ZUBAIR sent MUZZAMMIL AL
ZUBAIR a text message stating, “Forgot | have Smedley at 5:30.” ZUBAIR AL ZUBAIR then

sent MUZZAMMIL AL ZUBAIR a second text message stating, “I booked the adega at 5:30 so

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I’ll come grab cash right before please.” Later that same day, MUZZAMMIL AL ZUBAIR
replied, “Okay ...”

172. Onor about September 1, 2021, MUZZAMMIL AL ZUBAIR and ZUBAIR AL
ZUBAIR offered to give a check for approximately $10,000 to SMEDLEY.

173. On or about September 8, 2021, ZUBAIR AL ZUBAIR sent SMEDLEY a text
message regarding the containers used for cryptocurrency mining that Victim 2 shipped from
China to the United States described in paragraph 49: “Our containers at the port Headed to us.”
ZUBAIR AL ZUBAIR then text messaged SMEDLEY a request for his assistance with import
taxes on the containers: “So, as you know the Trump administration put Chinese import taxes
which will effect our containers unless we apply for an import waiver which exists. Just need to
locate it...! We’ll need your help piease ... .”

174. On or about September 15, 2021, MUZZAMMIL AL ZUBAIR sent ZUBAIR AL
ZUBAIR a text message that included a picture of a check from the Al Zubair Capital LLC
checking account made out to SMEDLEY in the amount of $10,000. The check was dated
September 1, 2021, was signed by MUZZAMMIL AL ZUBAIR, and the memo line stated,
“Advisor fee,” but it was never cashed or deposited.

175. On or about September 27, 2021, SMEDLEY and ZUBAIR AL ZUBAIR
exchanged the following text messages:

SMEDLEY: Are you still interested in nela park
ZUBAIR: Yes sir
ZUBAIR: Definitely
ZUBAIR: = What’s on your mind
Got a better way for us to take it over?
SMEDLEY: Can possibly get help from jobs ohio with cleanup and

demos
ZUBAIR: Perfect!

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176. On or about September 27, 2021, ZUBAIR AL ZUBAIR offered to give food to
SMEDLEY.

177. On or about October 11, 2021, MUZZAMMIL AL ZUBAIR and ZUBAIR AL
ZUBAIR offered to provide SMEDLEY with food.

178. Onor about October 11,2021, SMEDLEY sent the following message to
ZUBAIR AL ZUBAIR:

Dubai Bridge investments

Double annual salary of 110k will an extra 40k to equal 250k
annually paid monthly

i year guarantee

Equity in all deals worked on 7%

Equity in all deals lead 12 to 15 %

Benchmark bonuses 10k, 15k, 20k

Mutually agreed upon goals, benchmarks and objectives to
identify mutually acceptable outcomes.

Travel expenses covered outside of compensation

Signing bonus 25k

179. On or about October 12, 2021, ZUBAIR AL ZUBAIR sent the proposal from
SMEDLEY described in paragraph 178 to MUZZAMMIL AL ZUBAIR, who responded, “Man
he’s greedy.”

180. Onor about October 12, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR exchanged text messages discussing plans to draft a proposed agreement for paying
SMEDLEY. After exchanging these messages, MUZZAMMIL commented: “Mike
[SMEDLEY] showing his true colors.”

181. On or about October 12, 2021, MUZZAMMIL AL ZUBAIR and ZUBAIR AL

ZUBAIR offered to provide SMEDLEY with shoes and cash.

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182. On or about October 13, 2021, SMEDLEY sent ZUBAIR AL ZUBAIR a text
message, stating, “Waiting on your counter.”

183. Onor about October 23, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR exchanged the following text messages:

ZUBAIR: Let’s get a cheque together for Mike for October

at his old rate

I don’t think I’ll be keeping him around though
MUZZAMMIL: Ight cool

If he’s not expecting it Ji give him a personal check

ZUBAIR: That’s cool

MUZZAMMIL: Otherwise it’ll be deposited
Withdrawaled

ZUBAIR: Withdrawn

MUZZAMMIL: Thanks
184. On or about November 3, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL
ZUBAIR exchanged the following messages:
ZUBAIR: Yo
Did you handle Mike?
MUZZAMMIL: Waiting for him to hit me back
185. Onor about November 3, 2021, MUZZAMMIL AL ZUBAIR exchanged multiple
text messages with SMEDLEY in an attempt to set up a meeting.
186. On or about November 4, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL

ZUBAIR exchanged the followmg messages:

MUZZAMMIL: He don’t know I was giving him a check?

ZUBAIR: Tell him his October payment

“Its been sitting in your desk”
ZUBAIR: Because 1’1! need that to refer to his November suspension
ZUBAIR: Pause/Hold I should say

187. Onor about November 4, 2021, MUZZAMMIL AL ZUBAIR and SMEDLEY
exchange the following text messages:

SMEDLEY: What did you want earlier

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MUZZAMMIL: Your October check has been sitting on my desk
MUZZAMMIL: Was trying to drop it off

188. On or about November 6, 2021, ZUBAIR AL ZUBAIR and SMEDLEY
exchanged the following text messages:
ZUBAIR: Amazing
Sounds good
Miss you bruh ..,

Lets catch up soon
And your October payment is w/Zam

SMEDLEY: Lest do lunch
Lets
ZUBAIR: — Okay cool
189. In or around November 2021 MUZZAMMIL AL ZUBAIR and ZUBAIR AL
ZUBAIR offered to give SMEDLEY a check for approximately $20,000. The check was dated
November 3, 2021, was signed by MUZZAMMIL AL ZUBAIR, and the memo line stated,
“Advisor fee,” but it was never cashed or deposited.
190. On or about November 9, 2021, SMEDLEY sent ZUBAIR AL ZUBAIR a text
message, stating, “Would like to speak with you regarding your real estate development
company.”

191. On or about November 9, 2021, SMEDLEY emailed ZUBAIR AL ZUBAIR an

email titled “AGREEMENT.” Attached to the email was a one-page document pictured below:

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AGREEMENT BETWEEN ZUBAIR FAMILY AND IT’S BUSINESSES and MICHAEL
SMEDLEY

This agreement represents compensation for professional services provide by
Michael Smediey to the Zubair family and Its businesses including but not limited
to Dubai Bridge Investments. Michael Smediey will advise the Zubair Family and
its businesses on government affairs, building private sector relationships and
business development.

The compensation will be $10,000.00 a month for consecutive 12 months.

Within the 12 consecutive months progress meetings can be heid to determine
increase In compensation.

lf thera is required travelling beyond 200 miles, the Zubair Family and its
businesses will cover travel and lodging expenses.

Zubair Family and Sts Businesses Date Michael Smediey Date

192. On or about November 9, 2021, SMEDLEY sent a text message to
MUZZAMMIL AL ZUBAIR in which he asked: “Did you get email. Sent it to Zubair as well.”
MUZZAMMIL AL ZUBAIR replied: “Hey Mike. Yes I received.”

193. Onor about November 9, 2021, SMEDLEY and MUZZAMMIL AL ZUBAIR
exchanged the following text messages:

SMEDLEY: I take it the agreement i sent isn’t feasible
MUZZAMMIL: We haven’t gotten to it yet, we’re in the middle
of a lot right now. We’ll get back to you soon

194. Onor about November 13, 2021, SMEDLEY and ZUBAIR AL ZUBAIR
exchanged the following text messages:

SMEDLEY: The reason I sent you the agreement so that J can stay
out of jail representing you
SMEDLEY: I[ needntonbe able to prove ther is an official relationship

or it an be perceived as 1 am doing this from my public
position

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ZUBAIR:  hahahahahhahahaa
ZUBAIR: Understood
SMEDLEY: Ihave the ethics commission to contend with.

195. Onor about November 15, 2021, SMEDLEY sent a text message to ZUBAIR AL
ZUBAIR reminding him about the proposed agreement: “Need agreement so I can make the
calls.”

196. On or about November 16, 2021, ZUBAIR AL ZUBAIR responded to
SMEDLEY with the following text message:

We need to include/insert goals and kpi's within it.

Can’t have the relationship filled with unfulfilled and
unaccomplishable promises and commitments.

...1’d rather pay on a commission basis in that sense and s
tructure.

So, before anything gets signed let’s get an addendum of
shortlisted goal(s) that shall be immediately achieved throughout
the relationship.
197. Onor about November 16, 2021, ZUBAIR AL ZUBAIR forwarded the text
messages described in paragraphs 195 and 196 to MUZZAMMIL AL ZUBAIR, along with the

following message: “This [n****] Mike off his rocker if he think it going to get signed without

set standards.”

198, Onor about November 19, 2021, SMEDLEY sent the following messages to

ZUBAIR AL ZUBAIR:

Jobs ohio wants to set a call next with us. They have a search team and
an it. person from China that can aid in finding potential sites. Whats
your schedule like next week before Thanksgiving

199, On or about November 29, 2021, SMEDLEY arranged for an initial call with Jobs

Ohio.

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200. On or about November 29, 2021, ZUBAIR AL ZUBAIR and MUZZAMMIL AL

ZUBAIR exchanged the following messages:

ZUBAIR:

ZUBAIR:

[Image of an online meeting with SMEDLEY and State of
Ohio}
Mike stepped up

MUZZAMMIL: Who’s that?

ZUBAIR:

Smedley and the government

MUZZAMMIL: Okay shmedley

201. Onor about December 1, 2021, MUZZAMMIL AL ZUBAIR withdrew

approximately $20,000.

202. In or around December 2021 ZUBAIR AL ZUBAIR arranged an in person

meeting with SMEDLEY.

203. Onor about December 7, 2021, ZUBAIR AL ZUBAIR texted SMEDLEY “Let’s

do tomorrow evening?”

204. Onor about December 14, 2021, SMEDLEY and ZUBAIR AL ZUBAIR

exchanged the following text messages:

SMEDLEY: Got a call from an Alex in D.c. asking if you are the

ZUBAIR:

ZUBAIR:
ZUBAIR:
ZUBAIR:

economic development adviser to the Mayor. Haven’t to
return the call yet

Don’t know him

They may be referencing our website

Find out who he is if you can

Appreciate it

205. On or about December 22, 2021, ZUBAIR AL ZUBAIR sent SMEDLEY a text

message stating “the defense you provide for [persons known to the Grand Jury] makes me think

we haven’t paid you a single cent or have ever come to any form of agreement with you”.

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206. On or about December 25, 2021, SMEDLEY responded to the above-referenced

text message from ZUBAIR AL ZUBAIR, stating, “For me it was never about money. Only to

+

the degree if money was made... .’

207. On or about April 7, 2022, ZUBAIR AL ZUBAIR sent MUZZAMMIL AL »
ZUBAIR a text message asking, “Can you book the Marble Room for Saturday with Mike and
Land Bank president[?]”

208. On or about April 9, 2022, ZUBAIR AL ZUBAIR offered a dinner at the Marble
Room Steakhouse to SMEDLEY.

209. On or about April 10, 2022, SMEDLEY and ZUBAIR AL ZUBAIR exchanged
the following text messages:

SMEDLEY: When you get some time would like to get your feedback
about last night

ZUBAIR: Absolutely

SMEDLEY: Call me when you get some time I’m meeting [a person
known to the Grand Jury] today and can convey your
sentiments if you want to move forward

ZUBAIR: — Absolutely? Definitely want to move forward
No question about it

[...]

SMEDLEY: Th for dinner last night, you’re a hellava host

ZUBAIR: haha
Thank you for joining us and making this happen

210. Onor about May 20, 2022, ZUBAIR AL ZUBAIR provided a meal at the Marble
Room Steakhouse to SMEDLEY.
211. Onor about May 29, 2022, SMEDLEY and ZUBAIR AL ZUBAIR exchanged
the following text messages:
SMEDLEY: When can I get the wagyu today

ZUBAIR: Mmmm
Pll call you when | wrap up hetr

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212. On or about July 11, 2022, SMEDLEY and ZUBAIR AL ZUBAIR exchanged the

following messages:

SMEDLEY: Man I have people who are asking if this is real and I keep saying
yes. But we haven’t moved the needle in a month

ZUBAIR: Imma make up for it

SMEDLEY: I got your back and you keep leaving me hanging

ZUBAIR: Not anymore
Appreciate you beyond belief
... More than you know

ZUBAIR: —‘That’s why you need to get that offer to me

ZUBAIR: — Fv il all be in your hands

SMEDLEY: You won’t take a loss and | can guarantee it

213. Onor about July 11, 2022, SMEDLEY sent ZUBAIR AL ZUBAIR a text
message containing a link to an article concerning real estate development in East Cleveland and
Cleveland, Ohio,

214. Onor about July 12, 2022, MUZZAMMIL AL ZUBAIR sent ZUBAIR AL
ZUBAIR and SMEDLEY an email with the subject: “Fwd: LOI Smedley.” Attached to the

email was a document reproduced below:

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Dubai Bridge Investments LLC
Pepper Pike OH

July 12, 2022

Michael Smedley
fast Cleveland OH

RE; Letter of Intent (non-binding)
Venture of Michael Smedley in East Cleveland real estate

Mr. Smedley:

Dubai Bridge Investments LLC ("081") understands that you are considering a business venture
that will invest in real estate In or about East Cleveland GH. If so, DB] would have an interest in
possibly investing in the venture with you.

Of course, before any investment by DB! would be made, numerous details would have to be
worked aut such as ownership percentages, amount of investment, profit sharing, company
control and multiple others. DBI is interested in negotiating with you to see if terrns can be

reached ona possibie investment by DBI in your proposed venture.

Please consider this letter as an expression of interest in your proposed venture, but not as a
binding commitment to invest in your venture.

Sincerely,

DUBAI BRIDGE INVESTMENTS LLC

(Name and Title]

215, Onor about August 1, 2022, SMEDLEY sent a text message to ZUBAIR AL
ZUBAIR, stating, “You never sent me the language for the letter,” and asking, “what time do
you want to come to city hall[?}”

216. Onor about August 1, 2022, SMEDLEY sent a text message to ZUBAIR AL

ZUBAIR stating, “Mayor agrees with you being the international economic advisory person with

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business cards and an mou with you directly,” to which ZUBAIR AL ZUBAIR replied,
“Appreciate you.”

217. Onor about August 10, 2022, a person known to the Grand Jury sent a text
message to SMEDLEY stating, “[{ am a DBI associate known to the Grand Jury,] DBI’s
Portfolio Manager. How are we moving along now that you and Zubair have an understanding
on structure re: your real estate company?”

218. Onor about August 11, 2022, ZUBAIR AL ZUBAIR sent SMEDLEY a text
message containing language to be inserted in a letter on East Cleveland letterhead in support of
a City of East Cleveland partnership with ZUBAIR AL ZUBAIR’s wife.

219. Onor about August 11, 2022, SMEDLEY sent ZUBAIR AL ZUBAIR a text
message stating, “Can’t reach [a DBI associate known to the Grand Jury], suppose to be at
auction.”

220. Onor about August 11, 2022, after receiving the above message from
SMEDLEY, ZUBAIR text messaged MUZZAMMIL AL ZUBAIR stating, “Tell [a DBI
associate known to the Grand Jury] to manage Mike.”

221. On or about August 11, 2022, after the above messages, a DBI associate known to
the Grand Jury sent a text message to SMEDLEY stating, “Property bought.”

222. Onor about August 11, 2022, ZUBAIR AL ZUBAIR provided food to
SMEDLEY.

223. Onor about August 11, 2022, SMEDLEY directed an employee of East
Cleveland to email to ZUBAIR AL ZUBAIR a letter, titled, “Partnership Query DrAlFalasi,”

signed by SMEDLEY in his capacity of East Cleveland Chief of Staff and written on East

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Cleveland letterhead. The letter stated that “The City of East Cleveland and its mayor [...] are
privileged and pleased to engage in partnership with [ZUBAIR’s wife].”

224. On or about August 12, 2022, ZUBAIR AL ZUBAIR and SMEDLEY exchanged
text messages in which ZUBAIR AL ZUBAIR requested SMEDLEY add additional information
concerning ZUBAIR AL ZUBAIR’s wife in the East Cleveland letter, and SMEDLEY agreed.

225. Onor about August 13, 2022, SMEDLEY sent ZUBAIR AL ZUBAIR a text
message stating, “Thank you for the car, ] appreciate you bro.”

226. On or about August 18, 2022, ZUBAIR AL ZUBAIR and SMEDLEY exchanged

the following messages:

ZUBAIR: Gentle reminder on those biz cards
SMEDLEY: Cards ordered
SMEDLEY: Will give letter in the a.m.

227. On or about August 20, 2022, SMEDLEY exchanged text messages with [DBI
associates known to the Grand Jury] concerning the property purchased on August 11, 2022,
referenced above. SMEDLEY stated, “we need to choose a bank for the company and make a
deposit asap,” and further confirmed that DBI was “fronting the money for the 3 houses.”

228. On or about August 22, 2022, ZUBAIR AL ZUBAIR signed a Memorandum of
Understanding with the City of East Cleveland. The Mayor of East Cleveland signed the
agreement on behalf of the City. The stated purpose of the agreement was to “authorize Mr.
Zubair to establish International Business, Service, Technological, Infrastructure and Financial
Relationships in the Middle East, Asia and Africa.” The agreement described ZUBAIR AL
ZUBAIR as “established in the international community as an entrepreneur, investment broker

and philanthropist.” As part of the agreement, the City of East Cleveland “recognize[d]

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[ZUBAIR AL ZUBAIR] as its voluntary liaison serving in a capacity as the City’s Internationai
Economic Advisor for the purpose of increasing investment in the City of East Cleveland.”

229, On or about August 30, 2022, ZUBAIR AL ZUBAIR sent SMEDLEY a text
message asking, “What’s up with those biz cards as well? Also, what’s the allowances on an
email for me?”

230. On or about August 30, 2022, ZUBAIR AL ZUBAIR sent an email to the United
States Department of State non-immigrant visa email address, and carbon copied SMEDLEY at
his official East Cleveland email address and MUZZAMMIL AL ZUBAIR. In the email
ZUBAIR AL ZUBAIR used his title of “chief Foreign Economical Advisor to the City of East
Cleveland, city hall and the Honorable Mayor” and requested that the State Department facilitate
the visa process for a person known to the Grand Jury.

231, Onor about August 30, 2022, ZUBAIR AL ZUBAIR sent a second, separate
email to the United States Department of State Dubai business visa email address, and carbon
copied SMEDLEY at his official East Cleveland email address. The second email contained the
same information and requests as the first August 30, 2022, email, referenced above.

232. Onor about August 31, 2022, ZUBAIR AL ZUBAIR provided a meal at Etna
Restaurant to SMEDLEY.

233. On or about September 1, 2022, SMEDLEY directed an employee of the City of
East Cleveland to create East Cleveland business cards for ZUBAIR AL ZUBAIR containing an
official title of “International Economic Advisor.”

234. On or about September 2, 2022, SMEDLEY sent ZUBAIR AL ZUBAIR a text
message stating, “I propose you promote me to v.p. of Dubai Bridge investments so that I can

move this stuff.”

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235.

On or about September 2, 2022, SMEDLEY sent a text message to ZUBAIR AL

ZUBAIR containing a picture proof of an East Cleveland business card for ZUBAIR AL

ZUBAIR with the official title “International Economic Advisor.”

236.

On or about September 6 and 7, 2022, after Victim 2 reported the theft of their

cryptocurrency mining machines described in paragraph 51 to the Euclid Police Department,

SMEDLEY contacted ZUBAIR AL ZUBAIR to inform him of the investigation. SMEDLEY

learned of the investigation when Euclid Police contacted the City of East Cleveland city hall

about ZUBAIR AL ZUBAIR. SMEDLEY and ZUBAIR AL ZUBAIR exchanged the following

messages:

237,

SMEDLEY:

ZUBAIR:

SMEDLEY:

ZUBAIR:

SMEDLEY:

ZUBAIR:

SMEDLEY:

ZUBAIR:
ZUBAIR:

SMEDLEY:

ZUBAIR:

SMEDLEY:

What’s going on in the city of Euclid

What do you mean

They are investigating dbi [Dubai Bridge Investments] for 8mill in
theft

What

Received word today

Never heard of it

Something about goods in a warehouse

Where did that come from

Can you get me the detectives name. My lawyers are going to
tackle this!

Didn’t leave a name. You may wantnto call the Euclid police dept
Thanks they’re on it

Had our police chief check, no active investigation

On or about September 13, 2022, ZUBAIR AL ZUBAIR provided a meal at M

Italian Restaurant in Chagrin Falls, Ohio, to SMEDLEY.

238,

On or about September 14, 2022, SMEDLEY obtained an email sent to his

personal and official email address in East Cleveland, with the subject line “East Cleveland Site

Plan,” which contained information on a site in East Cleveland from the Cuyahoga County Land

Bank, which he then forwarded to ZUBAIR AL ZUBAIR.

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239. On or about September 15, 2022, SMEDLEY obtained an email sent to his
personal and official email address in East Cleveland, with the subject line “Apartment
Building,” which contained information on properties for sale at the Cuyahoga County Land
Bank, which he then forwarded to ZUBAIR AL ZUBAIR.

240. Onor about September 17, 2022, ZUBAIR AL ZUBAIR and SMEDLEY
exchanged the following text messages:

ZUBAIR: Afternoon
Are you and the mayor attending the game tomorrow?
Food and everything !
ZUBAIR: Am I sending you and the mayor suite tickets for tomorrow?
SMEDLEY: Need to check with the mayor if he is available
ZUBAIR: What about you
Should I send yours over?
ZUBAIR; Starts at 1pm
ZUBAIR: Best beef ribs in town! (at the game)
SMEDLEY: Who else will be there
ZUBAIR: The usual suspects
+ our banker
Super internal gathering
SMEDLEY: I’m in!

241. Onor about September 17, 2022, ZUBAIR AL ZUBAIR sent SMEDLEY a text

message containing a link for a ticket to a Cleveland Browns football game against the New
York Jets.

242, Onor about September 21, 2022, SMEDLEY sent ZUBAIR AL ZUBAIR a text
message asking, “What’s up can I bring someone with me to the browns game[?]”

243. Onor about September 21, 2022, ZUBAIR AL ZUBAIR sent SMEDLEY a text

message contaming a link for two tickets to a Cleveland Browns football game versus the

Pittsburgh Steelers, and a separate text message containing a link for a parking pass for the game.

_ 244. On or about September 26, 2022, SMEDLEY provided City of East Cleveland

business cards for ZUBAIR AL ZUBAIR to an associate of ZUBAIR AL ZUBAIR’s.

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245, Onor about October 16, 2022, ZUBAIR AL ZUBAIR sent SMEDLEY a text

message containing a link for a ticket to a Cleveland Browns football game versus the New

England Patriots.

246. On or about October 21, 2022, ZUBAIR AL ZUBAIR sent a voice message to

SMEDLEY asking, “what’s going on with those badges? Those cop badges? Just a reminder.”

247, Onor about October 28, 2022, ZUBAIR AL ZUBAIR sent the following

messages to SMEDLEY:

ZUBAIR:
ZUBAIR:
ZUBAIR:
SMEDLEY:
ZUBAIR:

SMEDLEY:

Outside

Thank you so much for the badges
Greatly appreciated

You’re welcome

And thank you for having me over
Wonderful cozy home

Open invitation

248. Onor about October 31, 2022, ZUBAIR AL ZUBAIR and SMEDLEY exchanged

the following text messages:

ZUBAIR:
SMEDLEY:
SMEDLEY:
ZUBAIR:
ZUBAIR:

Wanna come to the game tonight?

Sure

Plus 1?

Sure

[links for two tickets to a Cleveland Browns
football game versus the Cincinnati Bengals, and
for a parking pass to that game]

All in violation of Title 18, United States Code, Section 371.

COUNT 27

(Bribery Concerning Programs Receiving Federal Funds, 18 U.S.C. §§ 666(a)(1)(B) and 2)

The Grand Jury further charges:

249. The factual allegations of paragraphs 1 through 26, 30 through 133, 154 through

156, 159, and 161 through 248 of this Superseding Indictment are re-alleged and incorporated by

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reference as if fully set forth herein.

250. From in or around January 1, 2021, through in or around December 31, 2021, in
the Northern District of Ohio, Eastern Division, Defendant MICHAEL LEON SMEDLEY, being
an agent of a local government, to wit, the City of East Cleveland, Ohio, which in a one-year
period received benefits in excess of $10,000 under a federal program involving a grant,
contract, subsidy, loan, guarantee, insurance and other form of federal assistance, corruptly
solicited and demanded for the benefit of a person, and accepted and agreed to accept, a thing of
value from a person, intending to be influenced and rewarded in connection with a transaction
and a series of transactions of the City of East Cleveland that involved $5,000 or more, to wit:
SMEDLEY solicited, demanded, accepted, and agreed to accept food, money, future
employment and other things of value from Zubair Al Zubair and Muzzammil Al Zubair in
exchange for SMEDLEY agreeing to provide and providing, through the use of his official

position, favorable treatment and official action.

All in violation of Title 18, United States Code, Sections 666(a)(1)(B) and 2.

COUNT 28
(Bribery Concerning Programs Receiving Federal Funds, 18 U.S.C. §§ 666(a)(2) and 2)

The Grand Jury further charges:

251. The factual allegations of paragraphs 1 through 26, 30 through 133, 154 through
156, 159, and 161 through 248 of this Superseding Indictment are re-alleged and incorporated by

reference as if fully set forth herein.

252. From in or around January 1, 2021, through in or around December 31, 2021, in
the Northern District of Ohio, Eastern Division, Defendants ZUBAIR MEHMET ABDUR

RAZZAQ AL ZUBAIR, aka ZUBAIR MEHMET ABDUR RAZZAQ, and MUZZAMMIL

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MUHAMMAD AL ZUBAIR, aka MUZZAMMIL IBN MUHAMMAD, did corruptly give,
offer, and agree to give things of value to any person intending to influence and reward an agent
of a local government, to wit, the City of East Cleveland, Ohio, which in a one-year period
received benefits in excess of $10,000 under a federal program involving a grant, contract,
subsidy, loan, guarantee, insurance and other form of federal assistance, in connection with a
transaction and a series of transactions of the City of East Cleveland that involved $5,000 or
more, to wit: Defendants ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR did give,
offer to give, and agree to give Michael Smedley and others food, money, and other things of
value, including checks of $10,000 and $20,000 and offers of future employment, in exchange
for Smedley agreeing to provide and providing, through the use of his official position, favorable
treatment and official action.

All in violation of Title 18, United States Code, Sections 666(a)(2) and 2.

COUNT 29
(Bribery Concerning Programs Receiving Federal Funds, 18 U.S.C. §§ 666(a)(1)(B) and 2)

The Grand Jury further charges:

253. The factual allegations of paragraphs 1 through 26, 30 through 133, 154 through
156, 159, and 161 through 248 of this Superseding Indictment are re-alleged and incorporated by

reference as if fully set forth herein.

254. From in or around January 1, 2022, through in or around December 31, 2022, in
the Northern District of Ohio, Eastern Division, Defendant MICHAEL LEON SMEDLEY, being
an agent of a lecal government, to wit, the City of East Cleveland, Ohio, which in a one-year
period received benefits in excess of $10,000 under a federal program involving a grant,

contract, subsidy, loan, guarantee, insurance and other form of federal assistance, corruptly

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solicited and demanded for the benefit of a person, and accepted and agreed to accept, a thing of
value from a person, intending to be influenced and rewarded in connection with a transaction
and a series of transactions of the City of East Cleveland that involved $5,000 or more, to wit:
Defendant SMEDLEY solicited, demanded, accepted, and agreed to accept food, money, future
employment, and other things of value, including sports tickets and support for SMEDLEY’s
real estate business, from Zubair Al Zubair and Muzzammil Al Zubair, in exchange for
SMEDLEY agreeing to provide and providing, through the use of his official position, favorable
treatment and official action.

All in violation of Title 18, United States Code, Sections 666(a)(1)(B) and 2,

COUNT 30
(Bribery Concerning Programs Receiving Federal Funds, 18 U.S.C. $§ 666(a)(2) and 2)

The Grand Jury further charges:

255. The factual allegations of paragraphs 1 through 26, 30 through 133, 154 through
156, 159, and 161 through 248 of this Superseding Indictment are re-alleged and incorporated by

reference as if fully set forth herein.

256. From in or around January 1, 2022, through in or around December 31, 2022, in
the Northern District of Ohio, Eastern Division, Defendants ZUBAIR MEHMET ABDUR
RAZZAQ AL ZUBAIR, aka ZUBAIR MEHMET ABDUR RAZZAQ, and MUZZAMMIL
MUHAMMAD AL ZUBAIR, aka MUZZAMMIL IBN MUHAMMAD), did corruptly give,
offer, and agree to give things of value to any person intending to influence and reward an agent
of a local government, to wit, the City of East Cleveland, Ohio, which in a one-year period
received benefits in excess of $10,000 under a federal program involving a grant, contract,

subsidy, loan, guarantee, insurance and other form of federal assistance, in connection with a

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transaction and a series of transactions of the City of East Cleveland that involved $5,000 or
more, to wit: Defendants ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR did give,
offer to give, and agree to give Michael Smedley and others food, sports tickets, and support for
Smediey’s real estate business in exchange for Smediey agreeing to provide and providing,
through the use of his official position, favorable treatment and official action.

All in violation of Title 18, United States Code, Sections 666(a)(2) and 2.

COUNT 31
(Conspiracy to Commit Honest Services Wire Fraud, 18 U.S.C. § 1349)

The Grand Jury further charges:

257. The factual allegations of paragraphs 1 through 26, 30 through 133, 154 through
156, and 159 through 248 of this Superseding Indictment are re-alleged and incorporated by

reference as if fully set forth herein.

258. At all times relevant to this Superseding Indictment, the City of East Cleveland
and East Cleveland City Council had an intangible right to the honest services of their
employees. As an employee for the City of East Cleveland, Defendant MICHAEL LEON
SMEDLEY owed the City of East Cleveland and the East Cleveland City Council a duty to

refrain from receiving bribes and kickbacks in exchange for SMEDLEY’s actions and influence.

259. From in or around January 2021 through in or around January 2023 in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendants MICHAEL LEON
SMEDLEY, ZUBAIR MEHMET ABDUR RAZZAQ AL ZUBAIR, aka ZUBAIR MEHMET
ABDUR RAZZAQ, MUZZAMMIL MUHAMMAD AL ZUBAIR, aka MUZZAMMIL IBN
MUHAMMAD, and others known and unknown to the Grand Jury did knowingly and
intentionally combine, conspire, confederate and agree with others to commit federal fraud

offenses, that is, to devise a scheme and artifice, to wit, the scheme and artifice to defraud and

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deprive the City of East Cleveland and the East Cleveland City Council of their intangible right
to the honest and faithful services of SMEDLEY through bribes and kickbacks, and the
concealment of material information related thereto, as described in the factual allegations of
Paragraphs 157 and 159 through 246 of this Superseding Indictment, and for purposes of
executing such scheme and artifice to transmit and cause to be transmitted by means of wire
communication in interstate commerce any writings, signs, signals, pictures and sounds, in

violation of Title 18, United States Code, Sections 1343 and 1346.

260. The objects of the conspiracy were: for Defendants, having devised a scheme and
artifice to defraud the City of East Cleveland and East Cleveland City Council of their intangible
right to the honest services of SMEDLEY, to solicit, offer and accept bribes and kickbacks from
ZUBAIR AL ZUBAIR and MUZZAMMIL AL ZUBAIR in return for SMEDLEY taking or
causing to be taken favorable official actions; (b) for SMEDLEY to enrich himself and his
designees by soliciting and accepting things of value from ZUBAIR AL ZUBAIR,
MUZZAMMIL AL ZUBAIR, and others in return for performing and promising to perform
favorable official action, both as requested and as the opportunities arose, through corrupt
means; and (c) for Defendants and their co-conspirators to conceal, and encouraged others to
conceal, from the City of East Cleveland, the East Cleveland City Council, the public, and law
enforcement their corrupt relationship with one another and to maintain SMEDLEY’s
employment at the City of East Cleveland so they could continue to solicit, offer and accept

bribes and kickbacks in return for future favorable official acts.

261. It was part of the conspiracy that: Defendants and their co-conspirators employed

the same manner and means described in Count 26 of this Superseding Indictment.

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Acts in Furtherance of the Conspiracy

262. In furtherance of the conspiracy, and to effect the objects thereof, a member of the
conspiracy committed the overt acts described in Count 26 of this Superseding Indictment and

the acts described in the following paragraphs, in the Northern District of Ohio, and elsewhere:

263. On or about the following dates, Defendants and others, for purposes of executing
the above-described scheme and artifice, caused to be transmitted by means of wire
communications in interstate and foreign commerce the writings, signs, signals, pictures and

sounds described below:

Approximate Date | Description Sender Recipient
November 9, 2021 Email from SMEDLEY to SMEDLEY | ZUBAIR AL ZUBAIR
ZUBAIR AL ZUBAIR with
“Agreement” document
July 12, 2022 Letter of Intent between ZUBAIR SMEDLEY
ZUBAIR AL ZUBAIR and
SMEDLEY
August 11, 2022 Letter for ZUBAIR AL SMEDLEY | ZUBAIR AL ZUBAIR
ZUBAIR’s wife
August 30, 2022 Email to State Department ZUBAIR State Department NIV
Non-Immigrant Visa Section Section,
SMEDLEY
August 30, 2022 Email to State Department ZUBAIR State Department Dubai
Dubai Business Visa Section Visa Section;
SMEDLEY
September 14, 2022 | Email concerning “East -1 SMEDLEY | ZUBAIR AL ZUBAIR
Cleveland Site Plan”
September 15, 2022 | Email concerning SMEDLEY | ZUBAIR AL ZUBAIR
“Apartment Building”

All in violation of Title 18, United States Code, Section 1349.

COUNT 32
(Conspiracy to Commit Extortion Under Color of Official Right, 18, U.S.C. § 1951(a))

The Grand Jury further charges:

264. The factual allegations of paragraphs 1 through 26, 30 through 133, 154 through

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156, and 159 through 248 of this Superseding Indictment are re-alleged and incorporated by

reference as if fully set forth herein.

265. The activities and operations of the City of East Cleveland affected interstate

commerce.

266. From in or around January 2021 through in or around January 2023 in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendants MICHAEL LEON
SMEDLEY, ZUBAIR MEHMET ABDUR RAZZAQ AL ZUBAIR, aka ZUBAIR MEHMET
ABDUR RAZZAQ, MUZZAMMIL MUHAMMAD AL ZUBAIR, aka MUZZAMMIL IBN
MUHAMMAD, and others known and unknown to the Grand Jury did knowingly and
intentionally combine, conspire, confederate and agree with each other to obstruct, delay, and
affect commerce and the movement of any article and commodity in commerce by extortion, that
is, for SMEDLEY, a public official, to obtain and attempt to obtain property not due to him and
his office, from ZUBAIR AL ZUBAIR, MUZZAMMIL AL ZUBAIR, their businesses, and
others, with their consent, under color of official right, knowing these things of value were
provided in exchange for SMEDLEY performing official action on behalf of the City of East
Cleveland.

All in violation of Title 18, United States Code, Section 1951 (a).

FORFEITURE

The Grand Jury further alleges:

267. The allegations of Counts 1 through 32 are hereby realleged and incorporated
herein by reference for the purpose of alleging forfeiture pursuant to Title 18, United States
Code, Sections 981(aj(1)(C), 982(a)(1), and 28 U.S.C. § 2461(c). As a result of the foregoing

offenses, Defendants ZUBAIR MEHMET ABDUR RAZZAO AL ZUBAIR, MUZZAMMIL

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MUHAMMAD AL ZUBAIR and MICHAEL LEON SMEDLEY, shall forfeit to the United

States all property, constituting or derived from proceeds traceable to the violations charged in

Counts 1, 2-15, 21, and 26-31; and all property involved in the violations charged in Counts 16,

17-20, and 32, or any property traceable to such property; including, but not limited to, the

following:

A. The following 52 Firearms seized from ZUBAIR AL ZUBAIR:

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FNH USA LLC 509 9mm caliber pistol SN: GKS0228505;

Zastava Z-PAP M70 7.62 caliber rifle SN: 7,70-103677;
Romarm/CUGIR (Century International Arms) Micro Draco 7.62 caliber
pistol SN: 22PMD-31131;

Masterpiece Arms Defender 9mm caliber pistol SN: FX35630;
Sig-Sauer P320 9mm caliber pistol SN: 58J059218;

Pioneer Arms Corporation Heilpup 7.62 caliber pistol SN: PAC1170186;
Sig-Sauer P320 9mm caliber pistol with empty magazine SN: 58B196797;
Steyr M9-A2 9mm caliber pistol SN: 3215917;

Zastava PAP M92 PV 7.62 caliber Rifle with empty magazine contained
in gun case. SN: M92PV013546;

FNH USA LLC 509 9mm caliber Pistol contained in gun case

SN: GKS0141575;

Walther CCP 9mm caliber Pistol SN: FDF0399;

SCCY Industries LLC CPX-2 9mm caliber Pistol SN: C182860;
Springfield Armory 1911 Al .45 caliber Pistol SN: NM91000;
Springfield Armory/HS Produkt XDM Elite 9mm caliber Pistol SN:
BA348769;

Shadow Systems LLC DR920 9mm caliber Pistol SN: 5SX005434;

CZ USA CZ P-10F 9mm caliber Pistol with magazine SN: UB18877;
Kimber Ultra Raptor I .45 ACP caliber Pistol SN: KU74646;

Smith & Wesson SW1911PC .45 caliber Pistol SN: UFD9781;

FNH USA LLC 509 LS EDGE 9mm caliber Pistol with empty magazine
SN: GKS0193320;

CZ CZ75 SP-01 9mm caliber Pistol SN: FD360785;

Kimber Micro 9 Raptor 9mm caliber Pistol SN: TB0044209;

Ruger SP101 .357 Magnum caliber Revolver SN: 578-33522;

Smith & Wesson SW1911PC .45 caliber Pistol SN: UFE0349;

Colt Government .45 caliber Pistol SN: 0O8407EGA;

Canik 55 TP-9SFX 9mm caliber Pistol SN: 21BC72871;

Zastava ZPA P92 7.62 caliber Pistol SN: ZPA P92;

Keltec, CNC Industries PLR-22 .22 caliber Pistol SN: U1P26;

Ruger Mini 14 Ranch.223 caliber Rifle SN: 581-88840;

Keltec, CNC Industries CMR-30 .22 caliber Rifle SN: Y5K59;

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S.C. Nova Grup S.R.L. Draco NAK9 9 caliber Pistol SN: RON2164830;
Remington Arms Company, Inc. 870 12-gauge Shotgun SN: RAF014506;
F.N. (FN HERSTAL) PS90 5.7 caliber Rifle SN: FN142005;

Sig-Sauer (Sig Arms) MPX Multi caliber Pistol SN: 62F020735;

Keltec CNC Industries KS? 12-gauge shotgun SN: QE987;

Sharps Bros Mfg. The Jack Stripped Lower Receiver MULTI Caliber SN:
A24925;

ZEV Technologies Inc. ZEV-FL AR15 Forged Lower Receiver SN:
ZEV-FL;

Steyr Arms Inc. AUG/A3 M1 5.56 caliber Rifle SN: 21USA658;

Great Lakes Firearms GL-15 MULTI caliber Rifle SN: 1051.7100;
Thompson M1 Carbine .45 caliber Rifle SN: KC9008;

Sig Sauer SIG MCX 7.62 caliber Rifle SN: 633013511;

Springfield Armory Saint Multi caliber Rifle SN: ST401403;

Century Arms International VSKA 7.62 caliber Rifle SN: SV7077955;
Unique AR's McCall ID Multi caliber Rifle SN: UAR211594;

Sig Sauer lower pistol frame (no serial number);

Keltec CNC Industries PMR-30 .22 caliber Pistol SN: WVQ49;

Glock G-26 GEN5 9mm caliber Pistol SN: AHBF862;

Savage Stance 9mm caliber Pistol SN: AA04466;

CZ CZ75 P-01 9mm caliber Pistol SN: D344459;

Ruger PC Charger 9mm caliber Pistol SN: 913-40969;

Springfield Armory HS Produkt Hellion 5.56 caliber Rifle SN:
BBS14275;

Akkurt Silah San Garaysar Fear-114 12-gauge Shotgun SN: 21A-004048;
and

Action Arms LTD. (Israel Weapon Ind.) UZI B 9mm caliber SubMachine
Gun SN: 8A63334,

B. The following 27 pieces of Miscellaneous Jewelry seized on August 8, 2023,

seized from ZUBAIR AL ZUBAIR:

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Richard Mille Watch SN: RM11-03RG/003;

Richard Mille Watch SN: RM11-03CAFQ/2816;

Richard Mille SN: RM11AORG-ATZ/1168;

Richard Mille Watch SN: RM11-03CA-FQ104/200;
Richard Mille Watch SN: RM0O11AGTI/6688;

Richard Mille Watch no glass front SN: RM35-02FQ/028;
Richard Mille Watch SN: RM011AORG-ATZ/6698;
Richard Mille Watch SN: RM56-01ANSAPHR;

Richard Mille Watch SN: RM53-01CAPRO2;

Richard Mille Watch SN: RM67-02FQ002;

Richard Mille Watch SN: RM027AKCA3450;

Richard Mille Watch Ralph Nadal Edition white SN: RM61-01-AN-
CATZP/001;

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13. Richard Mille Watch gray band; black dial w/ no glass SN: unknown;
14. Richard Mille Watch SN: RM11-O03MCLCA-FQMCL02;
15. Richard Mille Watch red band; white dial SN: unknown;
16. Richard Mille Watch SN: RM11-03RG-003;
17, Rolex Watch SN: CL572200;
18. Rolex Watch Model 5LX SN: unknown;
19. Rolex Watch blue face; red dial SN: unknown;
20. Rolex Watch white face; blue dial; band and face separate SN: unknown;
21. Rolex Watch Red and Blue Dial model ST9 SN: unknown;
22. Audemars Piguet Watch SN: F54328;
23. Audemars Piguet Watch SN: J26837;
24, Patek Philippe Watch SN: A384EAP;
25. Audemars Piguet Watch SN: H57528;
26. Patek Philippe Watch with Leather Band no SN; and
27. Pateck Philippe Watch SN: A384FBP;
Cc. The following 31 miscellaneous firearms seized on August 8, 2023, from
MUZZAMMIL AL ZUBAIR:
i. Keltec Industries P50 5.7 caliber pistol SN: AADF49;
2. Colt King Cobra .357 caliber Revolver SN: RA255302;
3. FNH USA LLC, model 509 9mm caliber pistol SN: GKS0255570;
4, Sig Sauer P320 9mm caliber pistol SN: 58H275147;
5. Kimber model K68 .357 caliber Revolver SN: RV091201;
6. Glock G-19 GEN4 9mm caliber pistol SN: BUYG094;
7. Keltec Industries model PMR-30 .22 caliber pistol SN: WWPJ64;
8. Glock model G-17L 9mm caliber pistel with receiver 20/20 stabilizer kit
SN: BFSB910;
9, Beretta Pietro 92x 9mm caliber pistol SN: BST20974;
10. CZCZ75 SP-01 9mm caliber pistol SN: F307720;
li. Century Arms Draco NAK-9 9mm caliber pistol SN: RON2161137;
12. CZmodel CZ P-07 9mm caliber pistol SN: A894068;
13. Glock G-43X 9mm caliber pistol SN: BXCD815;
14, Glock G-26 GEN5 9mm caliber pistol SN: AHATI764;
15. Glock G-20 10mm caliber pistol SN: BWTH141;
16. Glock G-45 9mm caliber pistol SN: BUFC635;
17. Glock G-31 GEN4 .357 caliber pistol SN: BVYE675;
18. Ruger LCP .380 caliber pistol SN: 379003534;
19. Charter Arms Santa Fe Sky .38 Special caliber Revolver SN: 22L28253;
20.  Romarm/Cuigar Micro Draco 7.62 caliber rifle SN: 21PMD-26508;
21. Taurus PT111 Millennium G2 9mm caliber pistol SN: TKO91746;
22. Kimber Micro 9 Special Edition 9mm caliber pistol SN: PB0397812;
23. Spike's Tactical LLC ST15 multi-caliber Rifle SN: NSL162425:
24, Glock G19X 9mm caliber pistol SN: BWSV135;
25. Glock G-26 9mm caliber pistol SN: BWEG829;

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26. Ruger PC Charger 9mm caliber pistol SN: 913-09675;

27. Century Arms International BFT47 7.62 caliber rifle SN:BFT47012283;

28. Mossberg 590 12-gauge shotgun SN: V1345375;

29, Sig Sauer MPX Multi caliber rifle SN: 625016679;

30. CZ Scorpion EVO 3 S1 9mm caliber pistol SN: E043468;

31. Brigade Manufacturing Inc BM-F-9 multi caliber pistol SN: 34137F;
D. The following 12 pieces of miscellaneous jewelry seized on August 8, 2023,
form MUZZAMMIL AL ZUBAIR:

1. Black Richard Mille Watch SN: unknown;

2. Black Richard Mille Watch SN: unknown;

3, White Richard Mille Watch SN: unknown;

4, Silver Colored Audemars Piguet Watch SN: unknown;

5. Clear Hublot Watch SN: unknown;

6. Black Clear Stone Encrusted Audemars Piguet Watch SN: unknown;

7. Blue Patek Phillippe Watch SN: unknown;

8. Black face, black band Royal Oak Watch SN: H57475;

9. Brown face/Silver colored brown bad, Royal Oak Watch SN: F54328;

10. Black face Rolex silver colored band watch SN: unknown;

11. White Face Silver colored Patek Phillippe Watch SN: unknown;

12. Blue face/silver colored black leather band Patek Phillippe watch SN:

unknown; and

E. 2021 Indian Scout Bobber Sixty Motorcycle, VIN: 56K MTB118M3173002,

seized from MUZ7AMMIL AL ZUBAIR.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

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